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                     UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF GEORGIA
                                 GAINESVILLE DIVISION
         ----------------------------------)
         FAIR FIGHT, INC., SCOTT BERSON,                         )
         JOCELYN HEREDIA, and JANE DOE,                          )
                                                                 )
                                        Plaintiffs,              )
         v.                                                      ) Case No.
                                                                 ) 2:20-CV-00302-SCJ
                                                                 )
         TRUE THE VOTE, INC.,                                    )
         CATHERINE ENGELBRECHT,                                  )
         DEREK SOMERVILLE, MARK DAVIS,                           )
         MARK WILLIAMS, RON JOHNSON,                             )
         JAMES COOPER, and JOHN DOES 1-10, )
                        Defendants.                              )
         ----------------------------------)
                           DEPOSITION OF MARK WILLIAMS
                                   APPEARING REMOTELY
                                 September 23rd, 2021
                                          9:00 a.m.


         Reported by: Eileen Mulvenna, CSR/RMR/CRR




         __________________________________________________
                                   DIGITAL EVIDENCE GROUP
                            1730 M Street, NW, Suite 812
                                 Washington, D.C. 20036
                                        (202) 232-0646


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   1                    REMOTE VIDEOTAPED DEPOSITION of

   2     MARK WILLIAMS, a witness on behalf of Defendant in

   3     the above-titled action, held on Thursday, September

   4     23, 2021, commencing at approximately 9:00 a.m.

   5     (Eastern Time), before Eileen Mulvenna, CSR/RMR/CRR,

   6     Certified Shorthand Reporter, Registered Merit

   7     Reporter, Certified Realtime Reporter, and Notary

   8     Public of the State of New York.

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                                                                             Page 3
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   2
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 20
 21      ALSO PRESENT:
 22      Kenzie Guerrero, Videographer


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   4                                    MS. TAYLOR                           7
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                                                                                    Page 6
   1                          THE VIDEOGRAPHER:                This is Tape No. 1

   2               in the videotaped deposition of Mark Williams

   3               in the matter of Fair Fight, Inc., et al.,

   4               Plaintiffs, v. True the Vote, et al.,

   5               Defendants, and Fair Fight Action, Inc.,

   6               Counterdefendants, in the United States

   7               District Court for the Northern District of

   8               Georgia, Gainseville Division.                          Case

   9               No. 2:20-cv-00302-SCJ.

 10                           This deposition is being held remotely

 11                by Zoom videoconferencing, physical recording

 12                in Culpeper, Virginia, on September 23, 2021.

 13                The time is 9:08 a.m., Eastern Time.

 14                           My name is Kenzie Guerrero.                     I'm the

 15                legal videographer from Digital Evidence

 16                Group.       The court reporter is Eileen Mulvenna

 17                in association with Digital Evidence Group.

 18                           Will counsel please introduce

 19                themselves for the record.

 20                           MS. TAYLOR:            Torryn Taylor with

 21                Perkins Coie on behalf of the plaintiffs.

 22                           MS. McCLAFFERTY:                Michelle McClafferty



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                                                                             Page 7
   1               with Lawrence & Bundy, also on behalf of

   2               plaintiffs.

   3                          MR. SHELLY:            Jacob Shelly with Elias

   4               Law Group with plaintiffs.

   5                          MS. KRAMER:            Courtney Kramer with Bopp

   6               Law Firm on behalf of the defendants.

   7                          THE VIDEOGRAPHER:                Will the court

   8               reporter please swear in the witness.

   9     MARK WILLIAMS,

 10          having been duly sworn by Eileen Mulvenna,

 11          a Notary Public of the State of New York,

 12          was examined and testified as follows:

 13      EXAMINATION

 14      BY MS. TAYLOR:

 15                Q.         Good morning, Mr. Williams.

 16                A.         Good morning.

 17                Q.         My name is Torryn Taylor, as I

 18      mentioned, and I'm an attorney with the plaintiff in

 19      this case today.

 20                           Can you please state your address for

 21      the record.

 22                A.         3312 Canary Trail, Duluth, Georgia



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                                                                                Page 8
   1     30096.

   2               Q.         Have you ever been deposed before?

   3               A.         Yes.

   4               Q.         When were you last deposed?

   5               A.         It's been many years.                   I don't even

   6     recall when or what.               It was probably a divorce case

   7     or something.

   8               Q.         And just the one time?

   9               A.         A couple of times.

 10                Q.         A couple of times.                 Okay.

 11                           Before we get started today, I'm just

 12      going to go over some ground rules, if that's okay

 13      with you, just to make sure that we're on the same

 14      page because each deposition runs a little

 15      differently.

 16                A.         Absolutely.

 17                Q.         Great.

 18                           Just a reminder, as you probably know

 19      from your previous deposition, all your testimony

 20      you give today is under oath, just as if you were to

 21      be testifying in court.

 22                           For the benefit of everyone and the



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                                                                               Page 9
   1     court reporter, especially since we're all remote,

   2     if you could make your answers audible so that the

   3     court reporter can transcribe it.                         Head nods and

   4     shakes and stuff won't show up on the transcript.

   5                          Does that make sense?

   6               A.         Yes.

   7               Q.         Okay.       Great.

   8                          If you could allow me to finish my

   9     question before answering just so there's no

 10      interruptions, that will also be for the benefit of

 11      the court reporter and allow us to have a clean

 12      transcript, that would be great.

 13                           And then from time to time, your

 14      attorney may make an objection, which is totally

 15      allowed.       And you are to answer the question

 16      regardless, unless she specifically instructs you

 17      not to answer.

 18                           Does that make sense?

 19                A.         Yes.

 20                Q.         Great.

 21                           And if at any point you don't

 22      understand a question that I'm asking, please just



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   1     let me know and I'll try and rephrase it so that it

   2     makes sense, so that it's clear to you.                           And if you

   3     do answer the question, I'll assume that you've

   4     understood the question; is that fair?

   5               A.         Yes.

   6               Q.         And then, lastly, if at any time you

   7     want to take a break -- we'll try and take semi

   8     regular breaks throughout, but if there's any point

   9     you need to take a break, just let me know and I can

 10      find a place to stop and happy to take one.                          The

 11      only request I have is if there's a question

 12      currently pending, that you answer the question

 13      first before we go on to break, but after that, any

 14      time is fine.

 15                           Is that cool?

 16                A.         Yep, very good.

 17                Q.         Great.        So let's get started.

 18                           Did you prepare at all to testify

 19      today?

 20                A.         No.

 21                Q.         Okay.       And are you on any medication

 22      of any sort that might affect your ability to



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                                                                                 Page 11
   1     testify today?

   2               A.         Blood pressure and stuff like that,

   3     but nothing that should affect me in any way.

   4               Q.         Nothing that affects your memory or

   5     anything like that?

   6               A.         No.

   7               Q.         Great.

   8                          So you mentioned you live in Duluth,

   9     Georgia; is that correct?

 10                A.         Yes.

 11                Q.         Is that in Gwinnett County, Georgia?

 12                A.         Yes.

 13                Q.         How long have you lived there?

 14                A.         Gwinnett County, almost all my life.

 15                Q.         And what do you do for a living?

 16                A.         Printing.

 17                Q.         And in what capacity?                   Can you

 18      elaborate on that a little.

 19                A.         It's a family-owned business, Printing

 20      Trade Company.          We do printing.

 21                Q.         And Printing Trade Company is the name

 22      of the business?



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                                                                              Page 12
   1               A.         Yes.

   2               Q.         And how long have you been doing that?

   3               A.         All my life.

   4               Q.         Prior to the past general election and

   5     runoff elections in Georgia, did you have any

   6     experience in election law?

   7               A.         No.

   8               Q.         What about the Georgia Election Code?

   9               A.         No, not really.

 10                Q.         Do you have any formal legal training

 11      or background?

 12                A.         No.

 13                Q.         Do you have any -- or have you ever

 14      challenged a voter's eligibility before this past

 15      runoff in January?

 16                A.         No.

 17                Q.         And do you have any background or

 18      experience in statistics?

 19                A.         Yes, but it's to the mail side, things

 20      like that, mailings and things like that.                         Not

 21      statistics as such.

 22                Q.         Can you elaborate a little bit on what



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   1     you mean by "mailing statistics."

   2               A.         Well, we do mailings and stuff out of

   3     here and different type of -- anything to do with

   4     printing and stuff.              So we deal with lists and

   5     things like that.             I guess that's not statistics as

   6     much as it is lists, things like that.

   7               Q.         List management, something like that?

   8               A.         Yes.

   9               Q.         Are you a registered voter in Georgia?

 10                A.         Yes.

 11                Q.         How long have you been a registered

 12      voter in Georgia?

 13                A.         A long, long time.                 A good part of my

 14      life.

 15                Q.         Ballpark estimate?

 16                A.         '90s.       Somewhere in the '90s.

 17                Q.         Fair enough.

 18                           Gwinnett County the entire time?

 19                A.         Yes.

 20                Q.         Okay.       Okay.        Great.

 21                           In your own words, Mr. Williams, can

 22      you describe for me -- or tell me what True the Vote



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                                                                             Page 14
   1     is?

   2               A.         It's an organization --

   3                          MS. KRAMER:            Object to form.       He can't

   4               testify as to what True the Vote is, but if

   5               you could rephrase that question with what he

   6               thinks it is.

   7                          MS. TAYLOR:            I'm happy to rephrase.

   8     BY MS. TAYLOR:

   9               Q.         Mr. Williams, can you --

 10                           MS. KRAMER:            Not a problem at all.

 11                Sorry.

 12                           MS. TAYLOR:            That's okay.

 13      BY MS. TAYLOR:

 14                Q.         In your own words, can you tell me

 15      your understanding of what True the Vote is.

 16                A.         My understanding is that they're a

 17      group that's trying to make sure that elections are

 18      fair and safe or -- I guess that the -- only legal

 19      people can vote and no not-legal votes can be done.

 20      I think that's what they're trying to accomplish.

 21                Q.         Okay.       And how did you first learn

 22      about True the Vote?



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   1               A.         Somebody sent them to me in a

   2     vendor/customer capacity.

   3               Q.         Okay.       And about when was that?              Do

   4     you recall?

   5               A.         Let's see.           I guess it was probably

   6     around December of 2000, I think it was.                          I think

   7     that's right.

   8               Q.         The year 2000?

   9               A.         I think so.            Is that right?         Yes, I

 10      think so.       To the best of my recollection.

 11                Q.         You've been working with True the Vote

 12      for the past 20 or so years?

 13                A.         I'm sorry.           2020.       I'm sorry.

 14                Q.         No worries.

 15                           So December 2020 is roughly when you

 16      first started working with them, just to be clear?

 17                A.         Correct.          To the best of my

 18      recollection, yes.

 19                           MS. TAYLOR:            I'm going to pull up an

 20                exhibit now that may help.

 21                           Kenzie, can we pull up 0054.

 22



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   1     BY MS. TAYLOR:

   2               Q.         Mr. Williams, let us know if you can't

   3     see this on your phone for any reason.

   4                          (Exhibit 1, Bates Nos. OPSEC 0054,

   5               E-mail Chain, received and marked.)

   6                          THE WITNESS:             Yes.

   7     BY MS. TAYLOR:

   8               Q.         Okay.

   9               A.         I can.

 10                Q.         This looks like it's a December 12th

 11      e-mail from 2020 from Gregg Phillips to you.

 12                           Is this what you were referring to

 13      when you said someone referred you to True the Vote

 14      around that time?

 15                A.         Yes.

 16                Q.         And it says, "You were referred to us

 17      by the chairman of the GOP.                    We have a large print

 18      job for which we need help.                    Please let me know if

 19      you have ten minutes."

 20                           Did I read that right?

 21                A.         It appears that way.

 22                Q.         Did you know Gregg Phillips before



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                                                                                  Page 17
   1     this e-mail?

   2               A.         No.

   3                          MS. KRAMER:            Counsel, can you guys

   4               please zoom in to this e-mail.                          Even on my

   5               laptop, it's kind of hard to see, if you

   6               don't mind.          That's much better.                 Thank you.

   7     BY MS. TAYLOR:

   8               Q.         Mr. Williams, can you still see the

   9     exhibit?

 10                A.         Yes, I can read it fine on my phone.

 11                Q.         Great.

 12                           It looks like, from your reply, that

 13      Catherine Engelbrecht was cc'd on the e-mail.

 14                           Did you know who she was before this

 15      e-mail?

 16                A.         No.

 17                Q.         Okay.       And had you heard of True the

 18      Vote before this e-mail?

 19                A.         No.

 20                Q.         Okay.       So this was your first contact

 21      with them or with anyone at True the Vote?

 22                A.         Let me clarify that answer.                     The



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   1     chairman of the GOP told me that he had given them

   2     my number.        And that's the first I've heard of them.

   3     So this was -- this was a follow-up e-mail to that,

   4     but that was the first I've heard of them.

   5               Q.         Okay.       And who is the chairman of the

   6     GOP that's being referenced here?

   7               A.         David Shafer.

   8               Q.         And is he the chairman of the Georgia

   9     state GOP or county?

 10                A.         State.

 11                Q.         And how do you know -- how do you know

 12      Mr. Shafer?

 13                A.         We do a lot of printing with them and

 14      things like that, so he knows me as a printer.

 15                Q.         Okay.       And do you know what his

 16      relationship with True the Vote is?

 17                A.         I have no idea.

 18                Q.         He just reached out to you and put you

 19      in touch -- or let you know that they would be

 20      reaching out to you, rather?

 21                A.         Correct.

 22                Q.         Okay.       And we'll get into this a



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   1     little bit more a little later on, but can you just

   2     describe for me at a very high level your

   3     involvement with True the Vote after this e-mail.

   4               A.         I met with Gregg.                And he explained

   5     that they were trying to -- they needed to print the

   6     letters and explained the job to me.                              And I told him

   7     what we can do and things along those lines.                              So

   8     they were bringing that to me.

   9               Q.         When you say "letters," are you

 10      referring to the challenge letters that True the

 11      Vote issued in the January runoff election?

 12                A.         Correct.

 13                Q.         And who did you generally

 14      communicate -- during the scope of this printing

 15      project that you were doing with True the Vote, who

 16      did you communicate with?

 17                A.         I believe it was almost always Gregg.

 18      I believe that's correct.

 19                Q.         Did you have any other interactions

 20      with Catherine Engelbrecht?

 21                A.         I spoke with her on the phone a few

 22      times, but I think that's about it.



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                                                                            Page 20
   1               Q.         What about with James Cooper; did you

   2     work with him at all for this project?

   3               A.         Vaguely.          Very vaguely.

   4               Q.         When you say "vaguely," just so that

   5     we're clear, what do you mean by that?

   6               A.         I introduced them -- James Cooper to

   7     them.     And so -- and so I didn't work with him in

   8     any capacity, but I did introduce them.

   9               Q.         How do you know James Cooper?

 10                A.         I've known him many years through

 11      mostly Republican party stuff.

 12                Q.         Did you work with a Ron Johnson at

 13      all?

 14                A.         In the same capacity.

 15                Q.         Did you know him previous?

 16                A.         Yes, I've known him for a long time,

 17      too.

 18                Q.         Through your printing company?

 19                A.         Through Republican party mostly.

 20                Q.         Okay.       And what about Mark Davis?

 21                A.         Yes, I know Mark Davis.

 22                Q.         And Derek Somerville?



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   1               A.         Met Mark [inaudible] Derek Somerville,

   2     I think.

   3               Q.         Do you recall working with anyone else

   4     at True the Vote during this time?

   5               A.         Not -- no, I don't.

   6               Q.         How about anyone else at OPSEC?

   7               A.         At where?

   8               Q.         OPSEC, which was Gregg Phillips'

   9     company.

 10                A.         No.      No, not at all.

 11                Q.         When you were generally communicating

 12      with these people, you said mostly you were

 13      interacting with Gregg Phillips for this project,

 14      was that mostly over e-mail?                     Or how were you

 15      communicating?

 16                A.         It was almost all phone calls just

 17      about.      And we didn't have a lot of interaction,

 18      just -- it was basically just a customer/vendor

 19      relationship.

 20                Q.         Okay.       What -- can you broadly

 21      describe what those -- what types of customer/vendor

 22      interactions you're talking about?



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                                                                            Page 22
   1               A.         Well, they brought the project here

   2     and we discussed it.               And then once we did, then we

   3     produced the job and got it to them.

   4               Q.         So what did True the Vote ask you to

   5     do with regard to compiling these challenge lists?

   6               A.         They sent us lists and we printed

   7     them.     They sent us the list -- well, they sent us

   8     the individual letters, is what they sent us, files

   9     with the individual letters, and we printed them and

 10      gave them the copies.

 11                Q.         So you printed the letters and then

 12      gave them back to True the Vote?

 13                A.         Yes.

 14                Q.         Did you do anything else?

 15                A.         Not that I recall.

 16                Q.         Okay.       Why did you agree to work with

 17      True the Vote?

 18                A.         Well, as I said, it was a

 19      customer/vendor relationship.                      And when they told me

 20      that they were trying to -- that they had intentions

 21      of working to challenge a lot of the votes and

 22      things, I introduced them to a couple of people,



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                                                                                Page 23
   1     which was Ron Johnson and James Cooper.                           And then it

   2     went from there, so that was it.

   3               Q.         Okay.       Did you reach out to anyone to

   4     ask them to become a challenger on behalf of True

   5     the Vote?

   6               A.         Not that I recall.

   7               Q.         Okay.       But you did reach out to James

   8     Cooper and to Ron Johnson?

   9               A.         Correct, to introduce them to Gregg

 10      and his group.

 11                Q.         Okay.       And do you know what Ron

 12      Johnson and James Cooper did for True the Vote?

 13                A.         I wasn't involved in that part, so not

 14      really.

 15                Q.         You have no idea?

 16                A.         No idea.

 17                Q.         When you introduced them, what were

 18      you -- what did you think you were introducing them

 19      for?

 20                A.         For their connections to people all

 21      across the state, that they might be able to help

 22      them make connections across the state.



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                                                                             Page 24
   1               Q.          Connections for what?

   2               A.          To -- I guess to do the challenges.                  I

   3     just knew that both of these guys were real big in

   4     the party and stuff and held positions and things

   5     like that.        So I just assumed that they would be

   6     able to help them be introduced to people and

   7     things.        So I introduced them to them.

   8               Q.          Did True the Vote -- or did Gregg ask

   9     you to reach out to anybody you might know who might

 10      be able to do that?

 11                A.          No.      He described what they were

 12      doing.      And I thought there was a couple people that

 13      might be able to help him, so I just introduced

 14      them.

 15                Q.          So how did you reach out to Mr. Cooper

 16      and to Mr. Johnson in order to introduce them to

 17      Mr. Phillips and True the Vote?

 18                A.          To the best of my recollection, it was

 19      phone calls.

 20                Q.          What did you tell them?

 21                A.          That I had somebody that they probably

 22      should meet and have a discussion with.



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                                                                            Page 25
   1               Q.         No other details?

   2               A.         Not that I recall.

   3               Q.         Did you tell them anything about the

   4     project True the Vote was working on?

   5               A.         I don't recall.

   6               Q.         Okay.       So you just asked them to come

   7     meet this guy you knew?

   8               A.         Yes.      That they were working on

   9     something they might be interested in, I think is

 10      what I said.

 11                           MS. TAYLOR:            Kenzie, can we pull up

 12                0759.

 13                           (Exhibit 2, Bates Nos. Def Williams

 14                0759-780, E-mail Chain, received and marked.)

 15      BY MS. TAYLOR:

 16                Q.         Mr. Williams, this is a very long

 17      e-mail thread, unfortunately.                      And you're more than

 18      welcome to scroll through the whole thing, but I can

 19      represent to you today that it's a series of

 20      forwarded e-mails that all end up with you at the

 21      end.

 22                           And I'd like to turn your attention to



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                                                                            Page 26
   1     the second page.

   2                          MS. TAYLOR:            If we can go there,

   3               Kenzie.       And this e-mail specifically at the

   4               top.

   5     BY MS. TAYLOR:

   6               Q.         Do you recognize this e-mail,

   7     Mr. Williams?          You can take a minute to read it.

   8                          (Document review.)

   9                          THE WITNESS:             I don't recognize it

 10                right offhand.

 11      BY MS. TAYLOR:

 12                Q.         Do you know what this e-mail was used

 13      for?

 14                A.         I have no idea.

 15                Q.         Why was this e-mail sent to you, then?

 16                           MS. KRAMER:            Objection; speculation.

 17      BY MS. TAYLOR:

 18                Q.         You can answer, Mr. Williams.

 19                A.         I have no idea.               You know, I'm sure

 20      there was a lot of e-mails that were going around.

 21      I don't know what I was copied on and what I wasn't,

 22      so I have no idea.



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                                                                                    Page 27
   1               Q.          Were you generally copied on e-mails

   2     like this?

   3               A.          I have no idea.               Maybe.         I get so many

   4     e-mails a day, and I usually just click off of most

   5     of them that wouldn't pertain to me.                               So that was

   6     probably what happened here, I assume, because I

   7     don't recognize this at all.

   8               Q.          So you had no part in drafting this

   9     e-mail?        You don't know who drafted it?

 10                A.          Not that -- I recall nothing about

 11      this e-mail at all.

 12                Q.          Fair enough.

 13                            And you said that you did not reach

 14      out to any voters in Georgia --

 15                A.          Not that --

 16                Q.          -- and ask them to become -- to ask

 17      them to become challengers?

 18                A.          Not that I recall.

 19                            MS. TAYLOR:            Okay.       Kenzie, can you

 20                please pull up -- it was numbered 9, Tab 9.

 21                            (Exhibit 3, No Bates numbers,

 22                Responses to Interrogatories, received and



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                                                                                 Page 28
   1               marked.)

   2                          MS. TAYLOR:            That works.           Can you

   3               scroll, please, to page 8, second-to-last

   4               page -- or maybe not the second-to-last page.

   5               Thank you.

   6     BY MS. TAYLOR:

   7               Q.         Mr. Williams, do you recognize this

   8     document?

   9               A.         Vaguely.

 10                Q.         I'll represent to you that these are

 11      your interrogatories in this case that you answered.

 12                A.         Correct.

 13                Q.         Okay.       And so if you look at the last

 14      sentence on this page, it says you "contacted

 15      various people I knew in Georgia who might be

 16      interested in acting as challengers"; is that

 17      correct?

 18                A.         I believe that's correct, yes.

 19                Q.         Does that refresh your recollection at

 20      all?     Do you recall having done that now, seeing

 21      this?

 22                A.         Well, that's -- Ron Johnson and James



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                                                                            Page 29
   1     Cooper was the ones I reached out to mainly.                       If I

   2     did anybody else, I don't recall it.

   3                          MS. TAYLOR:            Kenzie, you can take that

   4               one down and pull up 0160.

   5                          (Exhibit 4, Bates Nos. Def. Coooper

   6               0160-161, Text Messages, received and

   7               marked.)

   8     BY MS. TAYLOR:

   9               Q.         Mr. Williams, can you tell me what

 10      this document shows?

 11                A.         I'm not sure what you're asking there.

 12                Q.         So this document appears to be the

 13      text message exchange.

 14                           Does that sound right, a group text?

 15                A.         Okay.

 16                Q.         And it looks like it's a conversation

 17      between Mr. Cooper, yourself, Mr. Johnson,

 18      Mr. Phillips and Catherine Engelbrecht; is that

 19      correct?

 20                A.         I'll take your word for it.

 21                Q.         Okay.       How often did you communicate

 22      on this group text message thread?



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                                                                            Page 30
   1               A.         I don't recall.

   2               Q.         Do you recall this particular

   3     conversation?

   4               A.         I'm sorry.           Could you repeat that.

   5               Q.         Do you recall this particular

   6     conversation?

   7               A.         Not right offhand, no.

   8               Q.         Do you know when you stopped

   9     communicating on this text message thread?

 10                A.         On this thread here -- like I say, I

 11      vaguely remember it, so I couldn't tell you any

 12      details about it without what's actually in the

 13      thread.

 14                Q.         Do you recall if this was a

 15      particularly active group conversation?

 16                A.         Let me look over this real quick.

 17      Hang on a second.

 18                           (Document review.)

 19      BY MS. TAYLOR:

 20                Q.         I believe it's two pages also,

 21      Mr. Williams.          So you can scroll -- or have Kenzie

 22      scroll to the next page if you need --



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                                                                            Page 31
   1               A.         Okay.       Yeah, I think I do recall this.

   2     I think this was when we were -- we were looking for

   3     the data on these to print, is what it was, if I'm

   4     not mistaken.          And I was telling them what we

   5     needed.

   6               Q.         What data are you referring to?

   7               A.         The letters to print.

   8               Q.         The challenge letter?

   9               A.         Yes.

 10                Q.         And at the top of the exchange, on

 11      December 18th, it looks like you write, "You should

 12      have just gotten 3 e-mails."

 13                           Do you know what three e-mails you're

 14      talking about there?

 15                A.         I have no idea.               That was probably

 16      just -- I'm just thinking that it was to do with the

 17      data or the e-mails of what we had and didn't have

 18      as far as the vendor/client relationship.

 19                Q.         Do you mind explaining that a little

 20      bit, what you mean by that statement?

 21                A.         Well, what -- when we were doing

 22      these, we were getting -- they were providing us



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                                                                            Page 32
   1     lists of names and the challengers and who -- and

   2     the data of what was going -- where the letters were

   3     going.      So that data was to print the letters with.

   4     And I believe this was a discussion of, we have

   5     these, but we don't have these kind of thing.                       So I

   6     think that's what that's referring to, is the

   7     e-mails where we were discussing that between my

   8     company and them, yes.

   9               Q.         And then a little further down, you

 10      say, "This is a clear picture of where we are.                       The

 11      third list is what we need to plunge forward on hard

 12      guys.     We have nothing in these counties."

 13                           Did I read that right?

 14                A.         Exactly.

 15                Q.         Can you explain -- can you explain

 16      that.

 17                A.         Yeah.       It would be the exact same

 18      thing, what I was describing.                      We were printing --

 19      we were printing the letters, and they were

 20      providing us each county.                   They were providing us

 21      the county.         So it was a discussion of what we had

 22      and what we didn't have as far as the letters that



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                                                                            Page 33
   1     we needed to print.

   2                          Because we had the list of what we

   3     needed to print, and some of them we didn't have the

   4     letters on yet.           So it was a time-sensitive thing.

   5     So we were trying to push to get those -- those

   6     lists of letters so we could get them printed for

   7     them.

   8               Q.         When you say you didn't have all of

   9     them, what was "all of them"?                      Like what were you

 10      looking to have?

 11                A.         We knew that there was a certain

 12      amount of these things, the different counties -- we

 13      had a list of all the counties that we were going to

 14      be printing, and some of them we didn't have the

 15      data for the counties yet.

 16                Q.         What data are you referring to?

 17                A.         The letters.

 18                Q.         Is that for all the counties in

 19      Georgia?

 20                A.         I don't recall.               We just had a list of

 21      a bunch of counties or something that we were

 22      working from or something.                    I don't even recall.



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                                                                             Page 34
   1               Q.         And you say, "This is a clear picture

   2     of where we are."

   3                          What did you mean by "clear picture"?

   4               A.         I believe I was referring to the

   5     e-mails that would have come from my company to them

   6     saying that we have these lists, but we don't have

   7     these kind of things.                I believe that's it.

   8               Q.         Like we have -- we have these

   9     challenge letters that you sent us, but we're still

 10      missing these ones kind of thing?

 11                A.         Correct.

 12                Q.         Okay.       Do you still have any other

 13      text messages from this group conversation thread?

 14                A.         Not that I recall.                 I pulled together

 15      everything that I knew that I had.

 16                Q.         Mr. Williams, it looks like we might

 17      have lost your video.

 18                A.         I'm here.

 19                Q.         Thank you.

 20                           So you said you don't have any other

 21      text messages from this thread?

 22                A.         Not that I'm aware of.



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                                                                                Page 35
   1               Q.         Did you conduct any research yourself

   2     to help identify voters for the challenge list?

   3               A.         No, not that I recall.

   4               Q.         Okay.       Did you participate at all in

   5     preparing the challenge list?

   6               A.         Not that I recall.

   7               Q.         Other than printing them?

   8               A.         Yes.      We were just the printer,

   9     correct.

 10                Q.         But you didn't help with compiling the

 11      lists themselves that you were printing?

 12                A.         Not that I recall.                 Outside the

 13      capacity of what you might have seen -- you were

 14      just discussing, that text message, that kind of

 15      thing.

 16                Q.         Just so that I'm clear, we're talking

 17      about lists and letters.

 18                           Were you printing like lists of names

 19      in addition to actual challenge letters or one or

 20      the other?

 21                A.         No.      We were just printing the

 22      letters.       And the data was the names that were going



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                                                                                Page 36
   1     into the letters.

   2               Q.          So you would receive a list of names

   3     and you would -- walk me through that, if you could.

   4               A.          Well, each letter was an individual

   5     letter.        So we had to have -- the name of the

   6     challenger and the name of the person that was being

   7     challenged was in the data or the lists.                           And we

   8     would take those and put them into the letter and

   9     print them.

 10                Q.          So just so that I'm clear, you would

 11      have a list of people being challenged and you had a

 12      list of people who were doing the challenging; is

 13      that correct?

 14                A.          Correct.

 15                Q.          And you had to take those names from

 16      those two lists and put them into one challenge

 17      letter, and that's what you printed?

 18                A.          Correct.

 19                Q.          Was there anything else involved in

 20      that process that I'm missing?

 21                A.          Not that I'm aware of.

 22                Q.          What steps did you take to ensure that



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                                                                             Page 37
   1     the challenges you submitted were accurate?

   2               A.         None.

   3               Q.         You didn't do any verification on your

   4     end?

   5               A.         No.

   6               Q.         Did you edit the lists at all after

   7     you received them?

   8               A.         Not that I'm aware of in any -- any

   9     way, no.

 10                Q.         Okay.       I'll return to that a little

 11      later on.

 12                           But why did True the Vote need these

 13      challenges printed in hard copy?                        Did they tell you?

 14                A.         I don't recall if they told me or

 15      whatever.       All I know is they brought them and we

 16      were to print them.

 17                Q.         Did you -- did you -- once you printed

 18      the letters, did you give them back to True the Vote

 19      or did you mail them somewhere?

 20                A.         I don't recall how they were

 21      delivered.        I don't recall that part.

 22                Q.         Were they sent electronically as well?



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                                                                            Page 38
   1               A.         From us, not that I recall anywhere.

   2               Q.         Do you know if they were sent

   3     electronically from somewhere else?

   4               A.         I have no idea.

   5               Q.         Okay.       Do you know how much this whole

   6     project that you engaged with True the Vote for --

   7     how much it cost?

   8               A.         I have no idea.               I'd have to dig into

   9     that.     I have no idea.

 10                Q.         Did you have any kind of contract with

 11      True the Vote for this work?

 12                A.         I don't recall signing any contracts

 13      or anything.         I think it was verbal.

 14                Q.         Can you describe for me what the

 15      verbal agreement was?

 16                A.         Well, they brought the job over and

 17      told us what it was.               We printed it and gave it back

 18      to them, and that was that kind of thing.

 19                Q.         Can you describe for me what they told

 20      you the job was?

 21                A.         They described the letters and what

 22      they would be, that there would be an individual



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                                                                            Page 39
   1     letter for each challenge and described how they

   2     would come to us and what they needed back.

   3               Q.         Was there any discussion of volume or

   4     time?

   5               A.         It was a very time-sensitive

   6     situation; I do recall that.                     And we printed -- it

   7     was only a couple of copies of each one or something

   8     like that.        I don't recall, but something like that.

   9               Q.         You had to print multiple copies of

 10      each challenge letter?

 11                A.         If I recall correctly, I think we

 12      printed two copies of each.

 13                Q.         And this was all in December of 2020?

 14                A.         I believe that's correct.

 15                           MS. TAYLOR:            Kenzie, can you pull up

 16                Document 0613.

 17                           (Exhibit 5, Bates Nos. Def Williams

 18                0613, Invoice, received and marked.)

 19      BY MS. TAYLOR:

 20                Q.         Mr. Williams, can you see this?

 21                A.         Yes.

 22                Q.         Can you tell me what this is?



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                                                                            Page 40
   1               A.         That appears to be an invoice.

   2               Q.         And if you look at the description --

   3     under the description, it appears to contain a

   4     $40,000 retainer; is that correct?

   5               A.         I believe that's correct.

   6               Q.         And did that cover your costs?

   7               A.         I don't recall.               I don't recall what

   8     the final was on this.

   9               Q.         Do you know when this --

 10                A.         If -- it was somewhere in that area, I

 11      do know that.

 12                Q.         Okay.       Do you know when this retainer

 13      was paid?

 14                A.         I have no idea.               Just looking at the

 15      date, it was -- it was paid earlier than that.                       This

 16      was a -- it was definitely paid earlier than that,

 17      but I couldn't recall the date or anything like

 18      that.

 19                Q.         When you say it was "paid earlier than

 20      that," what are you referring to?

 21                A.         Well, the date of the invoice was -- I

 22      think we -- we got the retainer in early on and then



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                                                                            Page 41
   1     we just worked off that.                  And at some point, we

   2     produced this document to reflect that retainer,

   3     that we had that retainer.

   4               Q.         Are you referring to the March 29,

   5     2021, date at the top?

   6               A.         Yes.      And I believe that's correct.              I

   7     could be -- I'm a little vague on that because it's

   8     just normal operating procedure kind of thing, and

   9     I'm not sure exactly when and what happened there.

 10                Q.         Okay.       Is it typical to produce

 11      invoices such as this after the fact?

 12                A.         Yes, it happens.

 13                Q.         Mr. Williams, under "Quantity," it

 14      says, "539,584."

 15                           What's that in reference to?

 16                A.         That would be the amount of letters

 17      that were printed.

 18                Q.         Okay.

 19                           (Cross talk.)

 20      BY MS. TAYLOR:

 21                Q.         That's two letters per challenge; is

 22      that correct?



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                                                                                Page 42
   1               A.         I believe that's correct.                    I believe

   2     so.

   3               Q.         Do you recall if that covered every

   4     county in Georgia?

   5               A.         I have no idea what -- we just sent

   6     the data that was sent to us, so I have no idea what

   7     was the final list.

   8               Q.         Had you received any invoices from

   9     True the Vote prior to this -- this one?

 10                A.         Not that I'm aware of.

 11                Q.         Did you submit any after this -- or

 12      prior to this one?

 13                A.         Not that I'm aware of.

 14                Q.         Did you submit any after this one?

 15                A.         Yeah, I have no idea.

 16                Q.         Okay.       You mentioned you worked

 17      directly with Mr. Phillips in connection with the --

 18      with this print job; is that correct?

 19                A.         Correct.

 20                Q.         Can you describe for me what you

 21      worked on with him.

 22                A.         He provided the -- he came in,



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                                                                                   Page 43
   1     described the job.             We discussed it.                   And then from

   2     then on, it was just a matter of, we have this,

   3     don't have this, that kind of thing.                              And he just

   4     provided what we needed or what they needed for the

   5     job, and we just produced it.

   6               Q.         Did you receive any invoices from

   7     Mr. Phillips' company, OPSEC?

   8               A.         Not that I'm aware of.

   9               Q.         Did you submit any invoices to his

 10      company, OPSEC?

 11                A.         Not that I'm aware of.

 12                           MS. TAYLOR:            Okay.       Kenzie, can we

 13                pull up 0745.

 14                           (Exhibit 6, Bates Nos. Def Williams

 15                0745-749, E-mail Chain, received and marked.)

 16      BY MS. TAYLOR:

 17                Q.         And this is also a couple pages long,

 18      Mr. Williams, but can you tell me what this document

 19      is?    You can take a minute to read it.

 20                A.         Let me look it over.

 21                           (Document review.)

 22



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                                                                             Page 44
   1     BY MS. TAYLOR:

   2               Q.         It's several pages, so you can have

   3     Kenzie scroll to the next one when you need.

   4               A.         Okay.

   5                          THE WITNESS:             Yes, scroll to the next

   6               page, please.

   7                          (Document review.)

   8                          THE WITNESS:             Scroll to the next one,

   9               please.

 10                           Okay.       Another page.

 11                           Okay.       Next page.

 12                           Okay.

 13                           THE VIDEOGRAPHER:                That was the last

 14                page.

 15                           THE WITNESS:             Yes, that was the last

 16                page?      Okay.

 17                           Okay.

 18                           MS. TAYLOR:            Okay.       And if we could go

 19                to the second-to-last page, Kenzie.

 20      BY MS. TAYLOR:

 21                Q.         First of all, Mr. Williams, can you

 22      tell me what this document is, generally?



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                                                                            Page 45
   1               A.         To the best of my recollection, it's a

   2     discussion of what we had and didn't have as far as

   3     lists and stuff and the data again to produce the

   4     letters, is what it appears to me.

   5               Q.         And by "data," you mean the names of

   6     the challengers --

   7               A.         Yes.

   8               Q.         -- of the challengers and of those

   9     individuals being challenged?

 10                A.         That's correct.

 11                Q.         So on this page, you say, "I've been

 12      thinking about this all night because the logistics

 13      on my end is A LOT.              This is something that would

 14      take a few weeks if I had everything...and we need

 15      to turn it in a day or two."

 16                           Did I read that correctly?

 17                A.         I believe so.

 18                Q.         What are you referring to here?

 19                A.         The job as described to me and how

 20      much it was going to be, it was going to be hard for

 21      me to produce in the time they were asking for it.

 22      So we were -- I was discussing that we needed to get



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                                                                            Page 46
   1     this stuff to me, basically, so I can get it

   2     printed.

   3               Q.         What are the logistics that are

   4     involved in that type of project?

   5               A.         Like I say, it's normal operating

   6     stuff.      They send the data.                We put it into our

   7     systems.       And it merges the data that they sent us

   8     into the prepared letter that they had already sent

   9     us to put into it, and then it's printed out.

 10                Q.         Okay.       What -- when you say this needs

 11      to be turned "in a day or two," you're talking about

 12      the final product, the printer letters; is that

 13      correct?

 14                A.         I believe that's correct.

 15                Q.         Why would this normally take a few

 16      weeks?

 17                A.         The volume.

 18                Q.         So can you explain to me what you

 19      would have done differently had you had a few weeks?

 20                A.         Nothing, really, except for the time

 21      it was going to take employees to do the job.

 22                Q.         So you had to just work employees



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                                                                            Page 47
   1     longer in order to get this done on time; is that

   2     what you're saying?

   3               A.         Correct.          It was a super rush,

   4     correct.

   5               Q.         But would there be anything different,

   6     mechanically speaking, in the actual printing

   7     process or the compilation of the data that would be

   8     different?

   9               A.         I don't believe so.

 10                           MS. TAYLOR:            Kenzie, if you could go

 11                to the page right before this one.

 12      BY MS.TAYLOR:

 13                Q.         In the middle here, it looks like,

 14      Mr. Williams, you write "Gregg, do we have the data

 15      for Hancock County so we can set up a test run?"

 16                           Do you see that?

 17                A.         Yes.

 18                Q.         What are you referring to when you say

 19      "test run"?

 20                A.         I believe this was early on when we

 21      first started the project that we were trying to get

 22      our systems ready -- all our stuff ready on our side



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                                                                                   Page 48
   1     so that when we started getting these lists, we

   2     could just -- we can plug and go.

   3                          So I was -- I believe, if that's not

   4     mistaken, that we were -- we had decided that

   5     Hancock County was going to be our first one or

   6     something, if I recall it correctly.                              And I was

   7     asking for that data so we could get something -- so

   8     we could practice and make sure that everything we

   9     had was ready when all the big files started coming.

 10                Q.         Can you explain to me what that

 11      entails, getting the systems ready and what a test

 12      run would look like?

 13                A.         It's basically the guys have to go in

 14      and they have to take the data as described, the

 15      names of the challengers and the names of the -- I

 16      guess challengee or whatever.                      And it has to load in

 17      a way so that when we go to print, it loads

 18      correctly.        So we had -- we needed to get that and

 19      make sure that everything was working the way it was

 20      supposed to.

 21                Q.         Were you able to do that, the test

 22      run?



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                                                                            Page 49
   1               A.         I believe so.             I believe so.

   2               Q.         And did it go smoothly?

   3               A.         Apparently so.

   4               Q.         Just below that e-mail, Mr. Phillips

   5     is writing about coordinating a master challenger

   6     list.

   7                          Do you see that?

   8               A.         Yes.

   9               Q.         What's that?

 10                A.         I believe that was -- it was on their

 11      end.     I think that was just a list of all the

 12      counties or whatever it was.                     I believe that's what

 13      that was.

 14                Q.         A list --

 15                A.         That wasn't on my end.

 16                Q.         I'm sorry.           Say that again.

 17                A.         That wasn't on my end.

 18                Q.         But you received that list?

 19                A.         I guess so.            You're talking about the

 20      master challenger list?

 21                Q.         Yes.

 22                A.         I don't know.             I don't recall.     We had



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                                                                               Page 50
   1     a list that we worked from as far as the list of

   2     counties and what they were challenging, but as I

   3     say, it was just a -- we're waiting on this county

   4     or that county or whatever, that kind of thing.

   5               Q.         How did you receive the lists that you

   6     received, the challenger list and the individuals

   7     being challenged?

   8               A.         I'm not sure.             I'm just not sure.

   9               Q.         Did you -- for example, did you get it

 10      in an Excel spreadsheet, handwritten, PDF, e-mail?

 11                A.         It would have been in a spreadsheet,

 12      but I'm not sure how it came to us, whether it was

 13      ZIP drives or e-mails or whatever.                          But it was in

 14      spreadsheets, correct.

 15                           MS. TAYLOR:            Okay.       And then if we

 16                could go to the first page of this document,

 17                please.

 18      BY MS. TAYLOR:

 19                Q.         There's an e-mail here from James

 20      Williams, and he has a printingtradeco.com e-mail

 21      address as well.

 22                           Who is that?



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                                                                                   Page 51
   1               A.         That's my son and an employee here.

   2               Q.         What was his role?

   3               A.         He's just an employee.                       His role was

   4     to just get jobs to the shop.

   5               Q.         What did he do specifically for this

   6     True the Vote project?

   7               A.         He would have managed it through the

   8     process.

   9               Q.         What does that entail?

 10                A.         Basically just getting the job in,

 11      getting it written up and getting it into the

 12      processes, to make sure that it was in the

 13      processes.

 14                Q.         What are referring to when you say "in

 15      the processes"?

 16                A.         We had to get the data in and get it

 17      plugged into the machines and things like that.                               So

 18      it was basically just running the job, getting the

 19      job in, getting it into the shop to run.

 20                Q.         Okay.       In this e-mail, the second from

 21      the top, it says, "Good morning everyone," that

 22      e-mail.



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                                                                                Page 52
   1                          What is James asking in this e-mail?

   2               A.         I don't know.             Let's see.         Maybe guess

   3     at it, but I don't really know.                       Let's see.

   4                          (Document review.)

   5                          THE WITNESS:             He was -- the best of my

   6               recollection, at this point, he was trying to

   7               get the different files in so we could get

   8               the job started.              We were trying to get -- we

   9               had been described the job and we kind of

 10                knew what it entailed, but it appears that we

 11                were still waiting on some of the -- a lot of

 12                it to get here so we could get it in the

 13                process and get it printed.                       Because it was

 14                very time-sensitive.

 15      BY MS.TAYLOR:

 16                Q.         It says here, "Please do not make any

 17      changes to shared documents from this point

 18      forward."

 19                           What are the shared documents that

 20      he's referring to?

 21                A.         I wasn't involved in that part, so I'm

 22      not positive.          But I would think it was the lists,



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                                                                              Page 53
   1     just the list of lists.

   2               Q.         Then he says, "If you make [any]

   3     changes, they will not reflect in the final files."

   4                          What types of changes were being made

   5     to the shared documents at this point?

   6               A.         I have no idea.

   7               Q.         You mentioned the list being

   8     incomplete still?

   9               A.         Well, we didn't have all the lists.

 10                Q.         Okay.

 11                           MS. TAYLOR:            Courtney, I'm good to

 12                take a ten-minute break if you are.

 13                           And, Mr. Williams, would you like to

 14                take a ten-minute break?

 15                           THE WITNESS:             Sure.

 16                           MS. KRAMER:            That works.

 17                           THE VIDEOGRAPHER:                The time is

 18                10:01 a.m.          Off the record.

 19                           (Recess from the record.)

 20                           THE VIDEOGRAPHER:                The time is

 21                10:11 a.m.          Back on the record.

 22



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                                                                            Page 54
   1                          MS. TAYLOR:            Can we pull up and mark

   2               as the next exhibit 0043.

   3                          (Exhibit 7, Bates Nos. OPSEC 0043-44,

   4               E-mail Chain, received and marked.)

   5                          MS. TAYLOR:            If we could go to the

   6               second page, please.

   7     BY MS. TAYLOR:

   8               Q.         Mr. Williams, this is an e-mail from

   9     Gregg Phillips to you.                 And in it he writes they

 10      "scrubbed the lists to exclude the military."

 11                           What does that mean?

 12                A.         I have no idea.               I have no idea.   Like

 13      I said, we were just waiting on lists and stuff, so

 14      what they did on that end, I have no idea.

 15                Q.         Okay.       He then writes, "If it's

 16      possible to replace by county, this gives a more

 17      clean approach."

 18                           What is he referring to there?

 19                A.         Again, my recollection would say

 20      that -- that we would get a file in, and then they

 21      would make some changes and send a new file.                       So

 22      this would have been replacing the file for that



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                                                                            Page 55
   1     particular county or something along those lines.

   2               Q.         So he's sending you new -- new lists;

   3     is that right?

   4               A.         From reading the e-mail, it appears

   5     that that's what that was.                    He was sending a new

   6     list for a particular county or something along

   7     those lines.

   8               Q.         Okay.       And what did you do in response

   9     to this e-mail?

 10                A.         I would imagine that it was -- that

 11      was internal workings.                 So I don't even know.        I

 12      suspect that we as a company replaced the file that

 13      we had with the new file.

 14                Q.         Okay.

 15                           MS. TAYLOR:            Can we go to the first

 16                page of this e-mail.                 That might help.     And

 17                you can blow that up.                  Thank you.

 18      BY MS. TAYLOR:

 19                Q.         You say, "We will replace them on our

 20      files as we go forward.                 It's not going to matter

 21      enough on the printed ones to back up and reprint."

 22                           What did you mean by that statement?



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                                                                                   Page 56
   1               A.         To the best of my recollection, it

   2     would have been just -- I don't think we had many of

   3     them printed off at this time.                       And when he was

   4     sending the new list for the counties, apparently,

   5     from this e-mail, missing the military data or

   6     something, I think it was just replacing those

   7     files.      So I don't think at that point it appears

   8     that we had printed a lot yet.                       So I was referring

   9     to that, I think.

 10                Q.         What did you mean by "It's not going

 11      to matter enough on the printed ones to back up and

 12      reprint"?

 13                A.         I believe that was it.                       I think that

 14      the changes were -- from what I understood at that

 15      time, that there wasn't that many that were coming

 16      out, so it wasn't going to be a big deal for us

 17      to -- for them to do what they need to do with the

 18      files that we had already had, that were already

 19      printed.

 20                           I think my thought process there was

 21      that they could pull those out by hand once we

 22      delivered them.           I believe that's what I was



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                                                                             Page 57
   1     thinking at that point.

   2     BY MS. TAYLOR:

   3               Q.         Did you communicate that to them?

   4               A.         I don't remember.                I don't remember

   5     much of that.          I just know that that was what was

   6     going on at the time.

   7               Q.         Do you know if -- those printed ones

   8     that didn't get changed, if they were pulled by hand

   9     afterwards?

 10                A.         I have no idea.

 11                Q.         But just to be clear, for the ones you

 12      had already printed, you did not go back and reprint

 13      those; is that correct?

 14                A.         I don't recall, I really don't.

 15                Q.         Do you know how many you had already

 16      printed at that point, by any chance?

 17                A.         I have no idea.

 18                Q.         Were there eligible voters on these

 19      lists of voters being challenged?

 20                A.         I have no idea.               I didn't have

 21      anything -- anything to do with compiling the lists.

 22                           MS. TAYLOR:            Can we pull up



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                                                                               Page 58
   1               Document 0708.

   2                          (Exhibit 8, Bates Nos. Def Williams

   3               0708-709, E-mail Chain, received and marked.)

   4                          MS. TAYLOR:            If we could go to the

   5               next page.          I think this is just forwarding.

   6     BY MS. TAYLOR:

   7               Q.         So this is an e-mail from Catherine

   8     Engelbrecht to you; is that correct?

   9               A.         I don't see anything.                   Wait a minute.

 10      There it is.

 11                           That appears to be so.

 12                Q.         Okay.       She says, "Hi, Mark."

 13                           And then in the middle, she says,

 14      "Also, please remove addresses that would suggest

 15      they are military bases," and she gives some

 16      examples of what those are.

 17                           What is going on there?

 18                A.         I don't really know.                   I'm assuming,

 19      from looking at this, that that was more towards

 20      Gregg Philips than it was to me.                        Because we didn't

 21      compile those things; we just printed them the data

 22      they sent us.          So I don't recall what that would



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                                                                            Page 59
   1     have been referring to at the time, and I don't know

   2     that it actually did refer to us at all.

   3               Q.         Gregg Phillips is copied on the

   4     e-mail, but it's addressed to you; is that correct?

   5               A.         It appears that way.

   6               Q.         But just to be clear, you didn't

   7     remove any of these addresses as she requested?

   8               A.         To the best of my recollection, no.

   9     We usually wouldn't have done something like that.

 10      Like I say, we print the data they send us.                       We

 11      don't really compile the data or manipulate the data

 12      in any way.

 13                Q.         Okay.       What was -- based on your

 14      understanding, why did she send you this e-mail?

 15                A.         I have no idea.

 16                Q.         Did you do anything in response to

 17      this e-mail?

 18                A.         Not that I'm aware of.

 19                Q.         Did you receive a number of e-mails

 20      such as this related to this project -- strike that.

 21                           Would you characterize your work for

 22      True the Vote as a relatively large project?



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                                                                                   Page 60
   1               A.         Yes, it was -- it was definitely a

   2     large project in such a short period of time.

   3               Q.         And notable for that reason?

   4               A.         Correct.

   5               Q.         Okay.       Did you typically -- or did you

   6     frequently during that time receive e-mails, either

   7     from Ms. Engelbrecht or Mr. Phillips or anyone at

   8     True the Vote, to which you didn't respond or to

   9     which you didn't feel applied to you?

 10                A.         I don't recall what was going back and

 11      forth.      As I said, it was just a customer -- a

 12      vendor relationship.               So they were sending us files

 13      and things.         So there was -- there was probably

 14      e-mails such as this that they were saying that --

 15      it didn't really pertain to anything except them

 16      getting the data to us.

 17                Q.         Okay.       So just to be crystal clear,

 18      you replaced files as they gave them to you, but you

 19      did not edit those files in any way even if asked at

 20      any time; is that correct?

 21                A.         Not that I'm aware of.                       It would not

 22      be our normal process of doing those kind of things,



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                                                                                  Page 61
   1     and I don't believe we did.                    We could do those kind

   2     of things, but I don't believe we manipulated any

   3     data in any way, if I'm not mistaken.                             Not to my

   4     knowledge we did.

   5               Q.         And that goes for your entire company,

   6     right, not just you?

   7               A.         Correct.

   8               Q.         Did anyone attempt to remove the

   9     individuals with military addresses from these

 10      lists?

 11                A.         Not that I'm aware of.

 12                Q.         So as far as you know, did the lists

 13      include military addresses when they went to print

 14      or did they not?

 15                A.         I have no idea.               As I said, we just --

 16      we just printed the data they sent us.                            I have no

 17      idea what was on them.                 And we pretty much don't

 18      care.     It's not -- it's not something we worry

 19      about.      They provide data; we print it.                        That's it.

 20                           So if they call and say, we need to

 21      replace that file, then we replace that file for

 22      them.     But as far as that goes, we don't typically



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                                                                            Page 62
   1     manipulate the data in any shape, form or fashion.

   2               Q.         Did you know what you were printing at

   3     the time, or were you just printing what they gave

   4     you?     Did you know the purpose of the project?

   5               A.         I had minimal knowledge of what the

   6     project was, but as far as really studying it and

   7     figuring out what was what, no.                       It was a print job.

   8               Q.         Can you describe for me what your

   9     understanding of the project was just one more time.

 10                A.         My understanding was that they were

 11      challenging votes to try and make sure the voter

 12      files were correct, was my understanding.

 13                Q.         Did you, as the printer, feel any kind

 14      of responsibility for making sure that those

 15      challenges were accurate in any way?

 16                A.         No.      That wouldn't have been our

 17      responsibility, no.

 18                Q.         Prior to the runoff election in

 19      January, had you ever submitted a challenge before?

 20                A.         No.

 21                Q.         Did you personally challenge anyone in

 22      the January runoff election in connection with True



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                                                                            Page 63
   1     the Vote?

   2               A.         The Gwinnett County was challenged.

   3               Q.         You challenged in Gwinnett County?

   4               A.         Yes.

   5               Q.         Or, rather, you were the challenger

   6     for Gwinnett County?

   7               A.         I was the challenger for Gwinnett

   8     County.

   9               Q.         Okay.       How many voters did you

 10      challenge?

 11                A.         I believe the number was somewhere

 12      around 32,000, if I'm not mistaken.

 13                Q.         How many of those challenges were

 14      successful?

 15                A.         None.

 16                Q.         What would you consider to have been

 17      success?

 18                A.         For them to be vetted.

 19                Q.         So it's your understanding that none

 20      of them were vetted?

 21                A.         It was told to me by the elections

 22      board that they had no intentions of vetting them at



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                                                                            Page 64
   1     all.

   2               Q.         Do you -- strike that.

   3                          How did True the Vote assist you in

   4     preparing your challenge?

   5               A.         They provided the data and then that

   6     was basically it.             They prepared the data and we had

   7     a discussion about that.                  That was about it.

   8               Q.         What was that discussion?

   9               A.         Just that there would be the challenge

 10      to the people that had moved and things along those

 11      lines and running against NCOA lists, that that was

 12      the challenges that we'd be making.

 13                Q.         Can you elaborate on that for me.

 14                           What was your understanding of how the

 15      list of challenged voters for Gwinnett County was

 16      compiled?

 17                A.         My understanding was that they matched

 18      it with NCOA lists.              And I'm very familiar with

 19      those, and that made a lot of sense to do it that

 20      way.

 21                Q.         Just so that we're clear for the

 22      record, when you say "NCOA," you're referring to the



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                                                                             Page 65
   1     National Change of Address registry?

   2               A.         Correct.

   3               Q.         And can you explain to me your

   4     understanding of what you mean -- of what they meant

   5     when you say they compared it to that?

   6               A.         My understanding was that they ran the

   7     voters in the election through the NCOA, the

   8     national register list, and these were the names

   9     that were kicked out and should have been.                        So

 10      basically the people that were on these lists were

 11      people that had moved and were still voting in a

 12      district that they no longer lived in.

 13                Q.         Okay.       Did anything else go into

 14      compiling those lists other than comparing against

 15      the NCOA?

 16                A.         I have no idea.               That's the best of my

 17      recollection.

 18                Q.         So True the Vote put together this

 19      challenge list for you.

 20                           Did you have to do anything else to do

 21      challenges in Gwinnett County?

 22                A.         Not to my recollection.



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                                                                            Page 66
   1               Q.         Did you discuss the accuracy of the

   2     challenge list that you were sponsoring in general

   3     with anyone at True the Vote or OPSEC?

   4               A.         I'm sure I did because that's -- like

   5     I say, that's a part of our business, so we

   6     understand the NCOA and all that kind of stuff.                        So

   7     I think there was a couple of questions about that,

   8     of the accuracy and things along those lines, with

   9     the ones I would be challenging and --

 10                Q.         And who did --

 11                           (Cross talk.)

 12                Q.         I'm sorry.           I didn't mean to interrupt

 13      you.

 14                A.         That's all right.                Go ahead.

 15                Q.         Who did you speak to about that?

 16                A.         I'm sure it was Gregg, but, again, I

 17      don't recall.

 18                Q.         Would that have been over e-mail or a

 19      phone call, in person?

 20                A.         Probably phone call and in person, I

 21      would think, but, again, I'm not positive.

 22                Q.         Okay.       And why would you have asked



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                                                                            Page 67
   1     these questions about the accuracy of the challenge

   2     list for Gwinnett County?

   3               A.         Well, I knew I was going to be the one

   4     that was challenging them.                    And I would have

   5     asked -- I say I would have.                     I know I did ask how

   6     they were compiled and things like that because I

   7     was worried about -- not worried, but I was

   8     concerned whether the challenge I made would be

   9     correct.

 10                Q.         And were you satisfied with the

 11      response that you received as to the accuracy of the

 12      challenge list for Gwinnett County?

 13                A.         Apparently so because I did make the

 14      challenges.

 15                Q.         Okay.       Did you have any concerns about

 16      the accuracy of the list?

 17                A.         No, but I expected them to be vetted

 18      so if there was any inaccuracy, it would be caught

 19      in the vetting of them by the elections board.

 20                Q.         Do you believe there may have been

 21      inaccuracies in the list of voters that you

 22      challenged?



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                                                                            Page 68
   1               A.         I have no reason to believe that.

   2                          MS. TAYLOR:            Can we pull up and mark

   3               as the next exhibit 0055.

   4                          (Exhibit 9, Bates Nos. OPSEC 0055-56,

   5               E-mail Chain, received and marked.)

   6     BY MS. TAYLOR:

   7               Q.         Mr. Williams, take a look at this

   8     document, if you will, and let me know when you've

   9     finished the pages.

 10                           (Document review.)

 11                           THE WITNESS:             Okay.

 12      BY MS. TAYLOR:

 13                Q.         So on the second page here, this

 14      e-mail -- can you tell me what this is?

 15                A.         Let's see.           It appears a cover letter

 16      for challenges.

 17                Q.         So this is an e-mail that was sent

 18      to -- who was this sent to?                    Do you know?

 19                A.         I'm not sure.             I don't recall this

 20      e-mail, to tell you the truth.

 21                Q.         Did you send this e-mail?

 22                A.         I don't know.             I'm not sure if I did



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                                                                            Page 69
   1     or not.

   2               Q.         But it's signed by you; is that

   3     correct?

   4               A.         It appears to be, yes.

   5               Q.         Okay.

   6               A.         I don't recognize -- I do not

   7     recognize this.           Let me put it that way.

   8               Q.         Was this e-mail sent in addition to

   9     the physical hard copies of the letters that you

 10      printed?

 11                A.         I have no idea.

 12                Q.         Did you send the hard copy challenges

 13      for Gwinnett County?

 14                A.         Yes.

 15                           MS. TAYLOR:            If we can go to the first

 16                page, please.

 17      BY MS. TAYLOR:

 18                Q.         You forward this thread to Amy

 19      Holsworth, Catherine Engelbrecht and Gregg Phillips;

 20      is that correct?

 21                A.         It appears that way.

 22                Q.         Okay.       It looks like you're forwarding



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                                                                            Page 70
   1     a response from a Kristi Royston at Gwinnett County.

   2     And you say, "I imagine you got this...but from me."

   3                          What do you mean by that?

   4               A.         Oh, I believe that -- I believe I

   5     remember some of this now.                    I believe that when I --

   6     after I put my challenges in, Kristi from the --

   7     from the county said that they would just file it

   8     away and not do the challenges because they had shot

   9     down another one similar to it.                       And this was going

 10      back from me that my challenges should be vetted.                         I

 11      believe that's what this is.

 12                Q.         It looks like you sent Ms. Holsworth,

 13      Ms. Engelbrecht and Mr. Phillips a draft response,

 14      asking them to review it; is that right?

 15                A.         I trust what you say there.

 16                Q.         Did you ever get a response from any

 17      of [inaudible] to this e-mail?

 18                A.         I don't recall.               As far as this, there

 19      was -- as far as to Kristi at the board and all,

 20      they did set a hearing and didn't invite me to it.

 21      After -- after this discussion, she did set up a

 22      hearing.



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                                                                               Page 71
   1                          MS. TAYLOR:            Can we pull up 0878 and

   2               mark it as the next exhibit, please.

   3                          (Exhibit 10, Bates Nos. Def Williams

   4               0878, E-mail Chain, received and marked.)

   5     BY MS. TAYLOR:

   6               Q.         This looks like it's an e-mail between

   7     you, Heather Long and Catherine Engelbrecht.

   8                          Just so we just have a complete

   9     record, who is Heather Long?

 10                A.         I don't know.

 11                Q.         But you sent this e-mail; right?

 12                A.         I don't recall it.                 Let's see.

 13                           (Document review.)

 14                           THE WITNESS:             I don't recall this at

 15                all, but -- it appears that I sent it, but I

 16                don't recall it.

 17      BY MS. TAYLOR:

 18                Q.         So you hadn't worked with Ms. Long

 19      before?

 20                A.         I don't recall who she is at all.

 21                Q.         Okay.       And the three of you appear to

 22      be coordinating the -- some response to the Gwinnett



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                                                                            Page 72
   1     elections board.

   2                          Is this possibly in the same context

   3     as that previous exhibit?

   4               A.         I don't recall, but, yes -- I would

   5     probably assume that, yes.

   6               Q.         For the record, it appears that it's

   7     the same date.

   8               A.         Yes.

   9               Q.         Okay.

 10                A.         I did see that.

 11                Q.         December 22nd, 2020.

 12                           MS. TAYLOR:            Let's pull up and mark as

 13                the next exhibit 0926.

 14                           (Exhibit 11, Bates Nos. Def Williams

 15                0926-927, E-mail Chain, received and marked.)

 16      BY MS. TAYLOR:

 17                Q.         This is also dated December 22nd,

 18      2020.

 19                A.         Okay.

 20                Q.         Can you tell us what's going on here?

 21                A.         This appears to be the response from

 22      Kristi telling me that they would set up a hearing.



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                                                                            Page 73
   1               Q.         Okay.       And I think this is actually

   2     two pages.

   3                          MS. TAYLOR:            Can we go to the second

   4               page.      Great.

   5     BY MS. TAYLOR:

   6               Q.         Was this your response then that --

   7     your official response that you ended up sending to

   8     Gwinnett County later that day?

   9               A.         I don't recall right off, but I would

 10      assume so, yes.

 11                Q.         In this response, you write, "I do

 12      trust the data that I have supplied is to be true

 13      and correct."

 14                           On what basis did you make that

 15      statement?

 16                A.         Because it was run through the NCOA,

 17      and that was what I was using as my basis for the

 18      accuracy of the list I was presenting.

 19                Q.         Is it your belief that anyone

 20      appearing on that NCOA list as it applies to

 21      Gwinnett County was ineligible to vote in Gwinnett

 22      County?



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                                                                               Page 74
   1               A.         It appeared that way, and that's what

   2     my challenge was for.

   3               Q.         You go on to say, "With that being

   4     said, I cannot see how the board can unilaterally

   5     reject my list of challenges, with any legality."

   6                          On what basis did you make that

   7     sentence -- or statement?

   8               A.         Well, knowing that the laws allow me

   9     to challenge a voter and challenge the eligibility

 10      of a voter and that's what my challenges were.                            And

 11      they did not vet any of them.                      They just threw the

 12      whole list out, claiming it was one list.                         And I was

 13      saying that it wasn't a list.                      It was 32,000

 14      individual challenges.                 And they were just throwing

 15      it all out saying, we're not going to do anything

 16      with it.

 17                Q.         What do you mean when you say they

 18      were "claiming it was one list"?

 19                A.         They said, you came up and put a

 20      challenge up to this list of people, the 32,000.                            We

 21      don't know where you got that list.

 22                           I said, no, I didn't.                   I gave you



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                                                                              Page 75
   1     letters and challenged -- had 32,000 individual

   2     challenges.         And I wanted each one of them to be

   3     vetted out, as they should have been.

   4               Q.         So your understanding was that the

   5     Board of Elections in Gwinnett County was

   6     interpreting your challenges as a whole, as a set of

   7     32,000, and your position is that they were

   8     individual challenges; is that correct?

   9               A.         That's correct.               In the hearing,

 10      that's the way they kept categorizing it.                         And I

 11      kept pulling them back and saying, no, it wasn't one

 12      list; it was 32,000 individual challenges.

 13                Q.         Then in the last sentence here in your

 14      response, you say, "Please see the attached letter

 15      which provides further clarification of my

 16      position."

 17                           Unfortunately because of the way these

 18      documents were produced, we aren't able to see the

 19      attachment to this lower threaded e-mail.

 20                           Do you recall what those -- what that

 21      letter you're referring to is?

 22                A.         I have no idea.               I just lost the



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                                                                                    Page 76
   1     document.        Do you know where it went?                        I just hit

   2     something.        I don't know what I did.                         I can see all

   3     you-all, though.

   4                           THE WITNESS:             Hey, everybody.

   5                           MS. TAYLOR:            Kenzie, are you able to

   6               help Mr. Williams see the document again on

   7               his screen?

   8                           THE VIDEOGRAPHER:                I unfortunately

   9               don't -- we lost his -- there he is.                           I don't

 10                know what it looks like on his phone, so --

 11                            THE WITNESS:             Oh, I found it.           I got

 12                it.     Apparently I clicked -- it's got like

 13                five pages or something.                     I clicked over one.

 14                            MS. TAYLOR:            We're actually done with

 15                this document, so you can pull it down.                            And

 16                can you please mark and pull up 0001.

 17                            (Exhibit 12, Bates Nos. OPSEC 0001-8,

 18                12/21/20 Letter, received and marked.)

 19      BY MS. TAYLOR:

 20                Q.          Mr. Williams, this was a letter that

 21      we had in our production.

 22                            Is it possible that this is the letter



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                                                                              Page 77
   1     that you're referring to in your response to

   2     Gwinnett County?

   3                          (Document review.)

   4                          THE WITNESS:             Okay.       What was the

   5               question?

   6     BY MS. TAYLOR:

   7               Q.         Is it possible that this is the letter

   8     that you had attached in your response to the

   9     Gwinnett County Board of Elections?

 10                A.         I don't recall, but it could have

 11      been.

 12                Q.         Have you seen this letter before?

 13                A.         I have.

 14                Q.         Did you --

 15                A.         I don't recall much of it, but I do

 16      remember the letter and when we discussed this, yes.

 17                Q.         What did you discuss about the letter

 18      and with who?

 19                A.         To my recollection, and I'm not sure

 20      who, it was a discussion of this is the response

 21      that we need to push back when they were denying

 22      the -- to vet the letters.                    This was a prepared



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                                                                            Page 78
   1     document, I believe, that True the Vote had had.

   2     And that's my best recollection of it, anyway.

   3               Q.         Based on that recollection, it would

   4     make sense then that this would be what you attached

   5     to that e-mail; right?

   6               A.         I assume so.

   7               Q.         Okay.       This document is actually two

   8     letters.       There's this first letter from Catherine

   9     Engelbrecht Bates labeled 0001.

 10                           MS. TAYLOR:            Kenzie, if we could go to

 11                the next page, I believe it's a different

 12                letter.

 13      BY MS. TAYLOR:

 14                Q.         Do you recognize this one,

 15      Mr. Williams?

 16                A.         I don't recall this one right offhand.

 17      I see it, but I don't recall that one right offhand.

 18                Q.         Do you know if by any chance you may

 19      have attached this to your response to the Gwinnett

 20      County Board of Elections?

 21                A.         I don't recall.

 22                Q.         Okay.       Do you know who wrote each of



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                                                                            Page 79
   1     these letters?

   2               A.         I don't.

   3               Q.         But you didn't help write or research

   4     for them, did you?

   5               A.         I don't recall much of these letters.

   6     I recall the other one as far as it being some kind

   7     of a reply we used, but I don't recall this one very

   8     much at all.         And so I have no idea how they were

   9     prepped.       I just don't recall.

 10                           MS. TAYLOR:            Can we go back to the

 11                first one.

 12      BY MS. TAYLOR:

 13                Q.         You said that this -- these letters

 14      were used to respond to different county boards of

 15      elections when they pushed back against the

 16      challenges; is that correct?

 17                A.         I believe this is one that we used for

 18      mine or I used to push back on mine, if I'm not

 19      mistaken.

 20                Q.         Do you know if these were distributed

 21      to other challengers in similar situations?

 22                A.         I have no idea.



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                                                                             Page 80
   1               Q.         In your capacity as a printer, did you

   2     print any of these letters, or were they all

   3     electronic?

   4               A.         I don't recall printing any of them.

   5     I have no idea.

   6                          MS. TAYLOR:            Okay.       If we could,

   7               Kenzie, go back to 0926, back to that e-mail.

   8     BY MS. TAYLOR:

   9               Q.         Here Kristi Royston replies to your

 10      reply that she'll be in touch as she stated earlier

 11      "with the meeting link and info."

 12                           Did you get that meeting info and

 13      link?

 14                A.         I did not.

 15                Q.         Did you follow up about it?

 16                A.         I did not follow up about it.                I got a

 17      phone call saying -- asking if I was on the Zoom

 18      call for the hearing that was in place, and then I

 19      called in.        But I did not get any notification

 20      whatsoever that this meeting was going on or this

 21      hearing was going on until someone called me and let

 22      me know that I was supposed to be presenting in



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                                                                            Page 81
   1     five minutes.

   2               Q.         So you knew a meeting would happen,

   3     but they didn't tell you when or where until it was

   4     already happening; is that correct?

   5               A.         I was told that there would be a

   6     meeting set up -- a hearing set up and I would be

   7     notified of that meeting.                   I was never notified of

   8     any meeting or hearing.                 And then a friend told me

   9     that the meeting and the hearing was going on at the

 10      time, and I called in to it.                     He gave me the

 11      information to call in to it.

 12                Q.         Okay.       What happened after that, when

 13      you called in?

 14                A.         Well, at that point, when I did call

 15      in, I was muted immediately.                     And they spent seven

 16      or eight minutes looking for me saying that I wasn't

 17      on the call.         And the chairman kept saying, let's

 18      give him time and let's -- so finally they found me

 19      on the call and gave me a chance to present the

 20      letters as a challenge.

 21                Q.         What did you present?

 22                A.         I just told the story of the letters



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                                                                                 Page 82
   1     and what they had and my challenges and told them

   2     that I did have the 32,000 challenges.                            And that was

   3     it.    So that's what I presented.

   4               Q.         And then what happened after you

   5     presented, Mr. Williams?

   6               A.         There was a quick push to throw out

   7     all my challenges as one lump, and I protested and

   8     asked that they be vetted accordingly and they

   9     should be vetted individually.                       And there was some

 10      discussion and a quick push to push this under the

 11      rug.

 12                Q.         And was that -- was there a final vote

 13      or anything or decision made?

 14                A.         Yes, there was a vote by the board.

 15                Q.         And how did that resolve?

 16                A.         They voted to throw all 32,000,

 17      roughly, challenges out in one lump.

 18                Q.         Did you have any follow-up with the

 19      county after that?

 20                A.         No.

 21                Q.         Did they give a reason for why they

 22      rejected your challenges?



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                                                                             Page 83
   1               A.          The discussion was that they couldn't

   2     do 32,000 challenges and that it was -- and they

   3     kind of berated me for trying to challenge 32,000

   4     voters.        And, again, I kept pushing back that they

   5     were individual challenges, not a challenge of

   6     32,000 as a lump.

   7                           And they refused to vet it in any way

   8     and did a quick vote.                 It was a particular board

   9     member that kept putting up motions to dismiss this

 10      and kept putting in -- and on that note, there was

 11      several people that were on the call, that were able

 12      to voice their opinion of why my challenges should

 13      be shot down or dismissed, that knew about the

 14      hearing, knew about everything in it, but I never

 15      got any kind of notification whatsoever that there

 16      was people that was prepared to voice their opinions

 17      of -- that were just individuals and elected

 18      officials, that were all able to voice their opinion

 19      on why my challenges should be voted down and

 20      prepared for that.              And I was not even aware of the

 21      hearing.

 22                Q.          You mentioned having stressed the



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                                                                               Page 84
   1     distinction between the board's understanding of

   2     your challenges as being a group of 32,000

   3     challenges and your understanding of them having

   4     been 32,000 individual challenges.

   5                          Can you tell me why that distinction

   6     is important?

   7               A.         Well, I felt it was important because,

   8     like I said, the NCOA had kicked out each one of

   9     these individuals.             So each one of those was an

 10      individual challenge.                The board kept going back to

 11      the point that this is just one big challenge of

 12      32,000 people as a list.                  And I said, no, it's not

 13      because each one of these is individual, and it

 14      needs to be vetted that way.

 15                Q.         I think I understand.                   Okay.

 16                           MS. TAYLOR:            Can we pull up 0038 and

 17                mark it as the next exhibit, please.

 18                           (Exhibit 13, Bates Nos. OPSEC 0038-40,

 19                E-mail Chain, received and marked.)

 20                           MS. TAYLOR:            Can we go to the end of

 21                it and just scroll through the pages so

 22                Mr. Williams can see it all.



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                                                                            Page 85
   1                          THE WITNESS:             Okay.

   2     BY MS. TAYLOR:

   3               Q.         What is this e-mail, Mr. Williams?

   4               A.         I had requested a file -- a recording

   5     of the meeting.

   6               Q.         So that 12/29 special meeting referred

   7     to here, that's the meeting you called in to where

   8     your challenges were considered; is that correct?

   9               A.         Correct.

 10                Q.         Then you forwarded it to Catherine

 11      Engelbrecht, Courtney Milbank and Gregg Phillips; is

 12      that correct?

 13                A.         I believe that's correct.

 14                Q.         And you say, "start at the :34:00

 15      mark."

 16                           What is that in reference to?

 17                A.         I believe that's when I was able to

 18      enter the hearing --

 19                Q.         So.

 20                A.         -- if I'm not mistaken.

 21                           This was a recording of the whole

 22      meeting and the whole hearing.                       I believe that's



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                                                                               Page 86
   1     where I was entered into the conversation.

   2               Q.         And why were you sending them this

   3     recording?

   4               A.         So they were aware of what happened

   5     with these particular challenges.

   6                          MS. TAYLOR:            Can we pull up

   7               Document 0298.

   8                          (Exhibit 14, Bates Nos. Def Williams

   9               0298-300, E-mail Chain, received and marked.)

 10                           MS. TAYLOR:            Can we also -- this is

 11                three pages.           Can we scroll through each of

 12                the pages for Mr. Williams.

 13                           THE VIDEOGRAPHER:                Starting with this

 14                page or the last page?

 15                           THE WITNESS:             Hang on a minute.        Let

 16                me read this one for a minute, please.

 17                           (Document review.)

 18                           THE WITNESS:             Okay.       Okay.   Okay.

 19      BY MS. TAYLOR:

 20                Q.         So here you write, "Just an FYI."

 21                           MS. TAYLOR:            Sorry.        Can you go back

 22                to that last page, Kenzie.



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                                                                                 Page 87
   1     BY MS. TAYLOR:

   2               Q.         You write, "Just an FYI.                     WE are going

   3     to have to change our recorded challenger in Hall.

   4     They were...served electronically.                          But our

   5     challenger is on the election board."

   6                          Did I read that correctly?

   7               A.         It looks like that to me, yes.

   8               Q.         What happened here?

   9               A.         I'm not positive, but if I recall it

 10      correctly, I think somebody had called me, maybe

 11      James or Ron Johnson or something, and told me

 12      that -- that the challenger -- the signature on the

 13      thing was going to have to change.                          So I think I was

 14      just alerting everybody, is what it appears to me.

 15                Q.         So you weren't the one to have gotten

 16      this information directly from the Hall challenger;

 17      you got it from either James Cooper or Ron Johnson?

 18                A.         I assume that's correct.                     I believe

 19      that's correct.

 20                Q.         Okay.       When you say "They were already

 21      served electronically," what do you mean by that?

 22                A.         Let's see.           To the best of my



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                                                                              Page 88
   1     recollection, there was an electronic service of

   2     each of the challenges as well as the hard copies.

   3     If I'm not mistaken, they -- they were delivering

   4     the -- and it wasn't from us, but I believe True the

   5     Vote was providing an electronic version to the

   6     county elections boards.                  And I believe this had

   7     already been sent.             The printed ones had not been

   8     sent yet, if I'm not mistaken.

   9               Q.         So the challenges had already been

 10      issued -- Mr. Williams, I think we lost your video

 11      feed.

 12                A.         Yeah.

 13                           MS. TAYLOR:            Or we lost him

 14                altogether.

 15                           THE VIDEOGRAPHER:                Do we need to go

 16                off the record?

 17                           MS. TAYLOR:            Yes, let's go off the

 18                record until we're able to get him back.

 19                           THE VIDEOGRAPHER:                The time is

 20                10:56 a.m.          Off the record.

 21                           (Recess from the record.)

 22                           THE VIDEOGRAPHER:                The time is



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                                                                                  Page 89
   1               11:05 a.m.          Back on the record.

   2     BY MS. TAYLOR:

   3               Q.         Mr. Williams, before we took our last

   4     break, we were talking about Document 0298.

   5                          MS. TAYLOR:            Kenzie, do you mind

   6               pulling that one back up for us.                        Okay.

   7     BY MS. TAYLOR:

   8               Q.         And this is the third page of that.

   9                          So you're explaining, Mr. Williams,

 10      how you were relaying information that True the Vote

 11      would need a new challenger for Hall County; is that

 12      correct?

 13                A.         I believe that's correct.

 14                Q.         And you were explaining that the

 15      challenges had already been issued with that

 16      challenger electronically in Hall County, but that

 17      they hadn't yet been printed and delivered; is that

 18      correct?

 19                A.         I believe that's correct.                    And that

 20      was my understanding at this point.                          So I was

 21      referring back to that, saying that -- that I

 22      believe that's already gone, but we'd have to



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                                                                            Page 90
   1     preprint them -- or we'd have to print them still.

   2               Q.         And you say the "challenger is on the

   3     election board."

   4                          Why is that a reason why you would

   5     have to change the challenger?

   6               A.         I have no idea.               Somebody just told me

   7     that, and I was just referring to that.

   8               Q.         And by "somebody," you're referring to

   9     James Cooper or Ron Johnson?

 10                A.         I believe that's correct, but not

 11      positive.

 12                Q.         Were you involved in finding a

 13      replacement for Hall County, a replacement

 14      challenger?

 15                A.         No.

 16                Q.         Do you know who was?

 17                A.         No, I have no idea.

 18                Q.         You say "We are working on getting

 19      another challenger now.                 It shouldn't be too hard."

 20                           What did you mean by that?

 21                A.         I'm not sure.             I might have had some

 22      discussions about somebody that might be up there,



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                                                                               Page 91
   1     but I don't recall right offhand.

   2                          MS. TAYLOR:            Can we go to the second

   3               page, Kenzie.

   4     BY MS. TAYLOR:

   5               Q.         In this e-mail, a little later, you

   6     write, "I think total we are at like 320,000 or so."

   7                          What are you referring to there?

   8               A.         That would have been how many letters

   9     we had printed up to that point.

 10                Q.         So by December 20th, around 9 a.m.,

 11      you had printed around 320,000 letters?

 12                A.         It appears that way.                   It appears that

 13      way.

 14                Q.         How many did you end up printing in

 15      total?

 16                A.         I believe -- I believe that invoice

 17      showed like 549,000 or something like that, but -- I

 18      don't recall right offhand, but I believe it's about

 19      549,000, I believe was the number.

 20                Q.         And were those -- when were those

 21      completed?        Do you recall?

 22                A.         I do not.



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                                                                              Page 92
   1               Q.         Would they have all been completed on

   2     the same day?

   3               A.         Over a few days.                Not one day.    It

   4     would have taken several days, but they were

   5     completed pretty quickly.

   6                          MS. TAYLOR:            Can we go to the first

   7               page of this e-mail.

   8     BY MS. TAYLOR:

   9               Q.         There's some back-and-forth here with

 10      you and Mr. Phillips.                And you write, "Yea...I get

 11      that and picked up the urgency shift and why."

 12                           What are you talking about there?

 13                           (Document review.)

 14                           THE WITNESS:             I don't recall.

 15      BY MS. TAYLOR:

 16                Q.         Could it have something to do with the

 17      need to print these letters quickly or on a

 18      timetable of some sort?

 19                A.         I don't recall that particular

 20      reference, of what that reference was, but it was --

 21      everything was very urgent.                    So I do get that, but

 22      I'm not exactly sure exactly what that comment was



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                                                                                Page 93
   1     about.

   2               Q.         Okay.       Mr. Phillips replies, "It will

   3     also help us supporting the challengers and other

   4     True the Vote initiatives."

   5                          Do you know what other True the Vote

   6     initiatives he's talking about here?

   7               A.         I have no idea.

   8               Q.         Were you involved in any other True

   9     the Vote initiative?

 10                A.         No.

 11                           MS. TAYLOR:            Can we pull up 0907,

 12                please, and mark it as the next exhibit.

 13                           (Exhibit 15, Bates Nos. Def Williams

 14                0907, E-mail Chain, received and marked.)

 15      BY MS. TAYLOR:

 16                Q.         Mr. Williams, after you have a chance

 17      to read this, would you please tell me what this

 18      document is.

 19                           (Document review.)

 20                           THE WITNESS:             Okay.       This would have

 21                been one of the challenges that they needed

 22                to put into the list apparently.                        Let's see.



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                                                                               Page 94
   1               Who sent this?             Kimberly.          James just

   2               forwarded that to me.                  As the lists were

   3               coming up, he forwarded that to me to go into

   4               the data of the letters.

   5     BY MS. TAYLOR:

   6               Q.         Why did -- so James forwarded this to

   7     you so that you could update your list for printing;

   8     is that right?

   9               A.         Well, I think that was his intention,

 10      it appears.         But I would have just forwarded it back

 11      to True the Vote to get them to put it into their

 12      files.      So I don't know what -- there was several

 13      things like that.             People were communicating through

 14      me because I knew everybody, but I didn't have any

 15      wherewithal with that.                 So I would just forward them

 16      to each other, say, send that to Gregg or call Gregg

 17      or whatever.

 18                Q.         But you didn't make any edits to the

 19      list based on this e-mail; right?                         You would have

 20      had True the Vote do that?

 21                A.         Yes, I wouldn't have done anything

 22      with it.



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                                                                                   Page 95
   1               Q.         And no one at your company would have?

   2               A.         Not that I'm aware of.                       I mean, we

   3     could have and there's a possibility that we might

   4     have added a name that they gave us or something

   5     like that, but I'm not aware of that happening.                                But

   6     we could have and would have if they had asked us

   7     to.

   8                          We were -- there was a challenge with

   9     that of trying to get the list as a whole because it

 10      could get very confusing.                   So we always -- and that

 11      was what that other e-mail referred to, was going

 12      back to just the -- here's a new file, stop making

 13      changes, send us a new file kind of thing.

 14                Q.         Are you referring to that e-mail that

 15      your son had sent?

 16                A.         Correct.

 17                Q.         Okay.       Would he be the one to know if

 18      any edits or changes to the lists were made at your

 19      company?

 20                A.         Probably not.             And, again, I assume --

 21      we really didn't.             We just referred them back.                   They

 22      compile the lists and send them to us.                             When we got



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                                                                            Page 96
   1     something like this, we send it back to them and let

   2     them make the changes and send them to us.

   3               Q.         Is there anyone in particular at your

   4     company that would know if any changes were made to

   5     the list on your end?

   6               A.         No.

   7               Q.         You would be the best person to know?

   8               A.         Probably so.

   9               Q.         So this e-mail, the second-to-last

 10      paragraph here, it says, "Will True the Vote let the

 11      county parties, or at least the designated

 12      challenger, know about the number and names of

 13      specific challenged registrations in their counties?

 14      I'd very much like to know!"

 15                           Did the challengers not know who they

 16      were challenging?

 17                A.         I have no idea.

 18                Q.         You were a challenger for Gwinnett

 19      County.

 20                           Did you know who you were challenging?

 21                A.         Yes, I didn't -- as it was presented

 22      through the vetting of that list, the individual



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                                                                              Page 97
   1     names were put through the NCOA.                        And as it was done

   2     that way, yes, I was aware.

   3               Q.         So you understood the process that

   4     True the Vote undertook to create the list, but did

   5     you see the list before issuing the challenges?

   6               A.         I do understand that process and I did

   7     understand that process and trusted that.                         So I

   8     didn't -- again, I didn't review each name, but I

   9     understood and trusted that process that they used

 10      to compile that list.

 11                Q.         So you didn't ask at any point to see

 12      the list in advance?

 13                A.         Not -- not in particular, no.

 14                Q.         And that was because you trusted the

 15      process they undertook to create that list as they

 16      explained it to you; is that right?

 17                A.         That's correct.

 18                Q.         Okay.       And you don't know if any other

 19      challengers saw the list for their counties

 20      beforehand?

 21                A.         I have no idea.               I have no idea.

 22                Q.         Do you think it would have been



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                                                                               Page 98
   1     helpful in any way if you had had an opportunity to

   2     look at your list before you issued the challenges?

   3               A.         No.

   4               Q.         Would it have been helpful to see

   5     maybe if you recognized any of the names on the

   6     list, if you could check people off like, no, this

   7     one's wrong, this person is my neighborhood,

   8     et cetera, et cetera?

   9               A.         Not really, no.               Because it was -- the

 10      list -- like I said, I trust the system.                          We use

 11      NCOA all the time, so I trust that process and know

 12      that process well.

 13                Q.         Can you explain a little how and in

 14      what capacity you use the NCOA list.

 15                A.         Well, we do mailings and stuff.                   So

 16      the way the laws work and everything, every list

 17      that we run as far as mailings and stuff, we have to

 18      put them through NCOA.                 So we use that all the time.

 19                Q.         So you never saw your list in advance.

 20                           Presumably you also didn't make

 21      changes to yours?

 22                A.         Correct.



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                                                                            Page 99
   1               Q.         Do you know if anyone ever followed up

   2     with this woman, Ms. Schwartz or Janet Hester

   3     Andrews, who sounds like she's the actual challenger

   4     for Jones County?             Do you know if anyone ever

   5     followed up with either of them about their request?

   6               A.         I have no idea.

   7               Q.         You didn't respond to them; is that

   8     correct?

   9               A.         Oh, no.         No, not at all.

 10                Q.         Mr. Williams, can you tell me who Joe

 11      Martin is?

 12                A.         I don't recall.

 13                           MS. TAYLOR:            Can we pull up and mark

 14                as the next exhibit 0181.

 15                           (Exhibit 16, Bates Nos. Def. Cooper

 16                0181-182, E-mail Chain, received and marked.)

 17      BY MS. TAYLOR:

 18                Q.         Can you tell me what this e-mail is,

 19      Mr. Williams?

 20                A.         Let's see.

 21                           (Document review.)

 22                           THE WITNESS:             I don't recall this at



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                                                                           Page 100
   1               all.      I don't know.

   2     BY MS. TAYLOR:

   3               Q.         It appears to be a forwarded e-mail

   4     from Joe Martin to James Cooper and Amy Holsworth.

   5     And then James Cooper forwards that e-mail to you,

   6     Mr. Phillips and Catherine Engelbrecht; is that

   7     right?

   8               A.         I trust in what you say there.                I

   9     can't guess.

 10                Q.         Fair enough.

 11                           Do you recall any interactions with

 12      Joe Martin or Taliaferro County?

 13                A.         I don't.

 14                Q.         So Mr. Martin writes, in the e-mail

 15      that James Cooper forwards you, "My experience with

 16      the True the Vote database has not been good."

 17                           Do you see that?

 18                A.         I see that.

 19                Q.         And Mr. Cooper, in forwarding that to

 20      you, says, "Good afternoon.                    This is one of mine.

 21      Please hold Mr. Martian's [sic] challenge."

 22                           Do you see that?



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                                                                             Page 101
   1               A.         I see that.

   2               Q.         Was Mr. Martin's challenge held?

   3               A.         I have no idea.

   4               Q.         Why would Mr. Cooper send you this

   5     e-mail?

   6               A.         I guess he was trying to keep me in

   7     the loop of something or something.                          I don't know.

   8     Again, I had nothing to do with that side of things.

   9     So I just assumed he just copied me because I was

 10      the one who introduced him.

 11                Q.         Well, this is dated December 20th.

 12                           And you had previously stated that you

 13      had printed a fair number of challenge letters by

 14      this point; is that right?

 15                A.         I couldn't recall the dates.                  I have

 16      no idea what dates were what.                      I just know that we

 17      just got it in real quick.                    Everything happened real

 18      fast.

 19                Q.         Could Mr. Cooper have been forwarding

 20      this to you asking you, as the printer, to withhold

 21      printing Mr. Martin's challenge so that it doesn't

 22      go out?



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                                                                           Page 102
   1                          MS. KRAMER:            Objection; speculation.

   2                          THE WITNESS:             Again, I have no idea.

   3     BY MS. TAYLOR:

   4               Q.         Do you know what happened to

   5     Mr. Martin's challenges following this e-mail?

   6               A.         I have no idea.

   7               Q.         Then Ms. Engelbrecht responds, at the

   8     top of this e-mail chain, "We are putting together a

   9     one pager to support challenges who are being asked

 10      to appear."

 11                           Did that one-pager ever wind up being

 12      created?

 13                A.         I have no idea.

 14                Q.         Did you ever see it?

 15                A.         Not that I'm aware of.

 16                Q.         Were you ever asked to print anything

 17      along those lines?

 18                A.         Not that I recall at all.

 19                Q.         Did you receive a copy of this?

 20                A.         Not that I'm aware of.

 21                Q.         Were you provided with documents from

 22      True the Vote in advance of your hearing for



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                                                                                 Page 103
   1     Gwinnett County?

   2               A.         Not that I'm aware of.                       I don't recall

   3     anything.

   4               Q.         And just to be clear -- my question

   5     was a little unclear -- I meant any documents to aid

   6     in your preparation for your hearing at Gwinnett

   7     County.

   8               A.         Yes, not that I'm aware of.

   9                          I just got a notification my battery

 10      is low.      I had no idea, so I'm plugging it in.

 11                Q.         Take your time.

 12                A.         We're good.

 13                           MS. TAYLOR:            Can we pull up

 14                Document 0052.

 15                           (Exhibit 17, Bates Nos. OPSEC 0052-53,

 16                E-mail Chain, received and marked.)

 17      BY MS. TAYLOR:

 18                Q.         Can you tell us, Mr. Williams, what

 19      this document is?

 20                           (Document review.)

 21                           THE WITNESS:             I believe this was in

 22                preparation when we were starting to get



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                                                                           Page 104
   1               going on the job.               I think I was -- let's

   2               see.      Who's this to?             Yeah, I think this was

   3               when we were preparing to do the printing.

   4               We were trying to get everybody lined up to

   5               send us the data and all that kind of stuff.

   6               I believe that's what this is referring to.

   7                          MS. TAYLOR:            Can you go to the next

   8               page of this document, Kenzie.

   9     BY MS. TAYLOR:

 10                Q.         Does this align with your

 11      understanding of the document that you just

 12      described, Mr. Williams?                  I just want to make sure

 13      you saw the whole thing.                  I forgot it was two pages.

 14                           (Document review.)

 15                           THE WITNESS:             That's the best of my

 16                recollection.            I really don't recall the

 17                timing and what this was, but I believe

 18                that's what it was, though.

 19      BY MS. TAYLOR:

 20                Q.         So Gregg Phillips forwards you this

 21      e-mail from James Cooper and asks you to extract the

 22      names for the request.                 And if you look at the first



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                                                                           Page 105
   1     e-mail, the request appears to be the names of the

   2     folks that the chair in the 10th is going to be

   3     challenging.

   4                          Do you see that?

   5               A.         Okay.

   6               Q.         What are you extracting names from?

   7               A.         I don't know that that was directed to

   8     me.    I'm not sure.           Like I said, I just don't --

   9     yeah, I don't recall what that was, but -- again, I

 10      just don't recall.

 11                Q.         Is this something that Mr. Phillips

 12      would have asked you to do, though?

 13                A.         Not really.            Again, I'm not sure what

 14      that discussion was.               Because we go back to the

 15      printer and -- the vendor and client called.                       They

 16      were providing us lists.                  So I'm not sure what that

 17      was about.        I have no idea.

 18                Q.         Presumably you were able to do it and

 19      you did.       It says, "Mark, can you extract the names

 20      for this request?"

 21                           And if you go back to the first page,

 22      your response to his e-mail is, "Yes, I can."



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                                                                                Page 106
   1                          So do you recall doing that?

   2               A.         I don't.          And I don't know what this

   3     was.     The timing of this is the early part of this.

   4     So I'm not sure what that referred to at all.                             I

   5     have no idea.

   6               Q.         Let's look at the first e-mail.                      It

   7     says, "I have one chair in the 10th that wants the

   8     names of the folks he will be challenging.                             He is

   9     the Taliaferro County chair.                     He said he wants to do

 10      it but will not unless he sees the names."

 11                           And Mr. Phillips asks you to extract

 12      those names, and you say that you can.

 13                           Does that make sense to you?

 14                A.         I believe -- I think I -- to go back

 15      to that, I think that we were saying we could

 16      extract names if we needed to, but I don't think we

 17      ever did.       I don't think we ever did.                        I think what

 18      we were saying was that -- I believe what I was

 19      saying here was, yes, we can extract names if we

 20      need to.       But that was not our role.

 21                           Again, this was very early too.                      So

 22      with that being said, I think that that's what that



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                                                                                 Page 107
   1     discussion was about.

   2               Q.         As far as you recall, you did not

   3     actually end up extracting the names for this

   4     request.

   5               A.         I don't think so.

   6               Q.         When you said you could extract the

   7     names, do you know -- like did you have some kind of

   8     master database set that you could extract those

   9     names from?

 10                A.         At that point, I don't think -- and

 11      this is the best of my recollection.                              I don't think

 12      we even had the list at this point.                          I think it

 13      was -- I think we were just compiling them at that

 14      point.      And I think that's what had come up, was a

 15      discussion about could we extract names if we needed

 16      to.    I believe that's what that was about.

 17                Q.         Okay.       So this was more of a

 18      theoretical in the future, when we get the list, I

 19      could extract the names from it if needed; is that

 20      right?

 21                A.         That's the best that I can recall on

 22      it.    I don't recall exactly, but that would be what



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                                                                            Page 108
   1     would have been going on at that time.

   2               Q.         Do you know who the Taliaferro County

   3     chair is?

   4               A.         I have no idea.

   5               Q.         Do you know why he would have

   6     requested the names of the people he was

   7     challenging?

   8               A.         I have no idea.

   9                          MS. TAYLOR:            Can we pull up

 10                Document 0718.

 11                           (Exhibit 18, Bates Nos. Def Williams

 12                0718, E-mail Chain, received and marked.)

 13      BY MS. TAYLOR:

 14                Q.         Mr. Williams, what's the context

 15      behind this e-mail?

 16                A.         Okay.       This was based on a discussion

 17      I had had with a couple of friends that were doing

 18      something similar to what True the Vote was doing.

 19      And they had -- they were putting up challenges

 20      pretty similar to what True the Vote was.                         And I was

 21      just referring that to the group.

 22                Q.         Okay.       What other groups are you



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                                                                           Page 109
   1     referring to here?

   2               A.         I don't know any of the names.

   3     Just -- like I said, it was discussions with some

   4     friends that were involved in some different efforts

   5     going on that were similar to this.

   6               Q.         In the state of Georgia?

   7               A.         Yes.

   8               Q.         Okay.       And it was around the same time

   9     that True the Vote was issuing its challenges; is

 10      that right?

 11                A.         Correct.

 12                Q.         Do you know why those other groups

 13      were engaged in their initiatives?

 14                A.         You know, I can't get in their heads,

 15      but I assume it's along the same thoughts that there

 16      were -- people were voting in districts they didn't

 17      live in.       And they were challenging that and going

 18      through the NCOA the same way.

 19                Q.         So based on your understanding of

 20      these other groups' challenge efforts, they were

 21      also challenging voters based on information they

 22      obtained from the NCOA registry?



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                                                                           Page 110
   1               A.         That's my understanding.

   2               Q.         Okay.       How did you learn about these

   3     other groups and their efforts?

   4               A.         Just some discussion with friends.

   5     Just talking with some friends and things.

   6               Q.         Were your friends involved in those

   7     efforts?

   8               A.         I don't know to what degree.

   9               Q.         Okay.       You also write, "We are the

 10      only ones that Fair Fight is spending 'REAL' efforts

 11      and resources on to try to shut us down."

 12                           Did I read that correct?

 13                A.         I believe that's correct, yes.

 14                Q.         What did you mean by that?

 15                A.         At that point, when I was having

 16      discussions with other people, we're the only ones

 17      that have been -- that they had filed lawsuits

 18      against that I was aware of.

 19                Q.         You go on to say, "Now is the time to

 20      attack on all fronts.                And let these other groups

 21      flank our enemies."

 22                           What did you mean by that?



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                                                                             Page 111
   1               A.         This was an encouragement, that I felt

   2     like we were on the right track, with the challenges

   3     of me being in Gwinnett County, and True to Vote, as

   4     far as their challenges and things.                          This was just

   5     an encouragement e-mail that I felt like -- that

   6     there was more meat to this than I had -- originally

   7     had even thought it could be.

   8               Q.         And when you say "time to attack on

   9     all fronts," what are you attacking?

 10                A.         Just to keep true on the challenges.

 11      And just like mine, it was shut down and it

 12      shouldn't have been.               All of my challenges were as a

 13      lump and it shouldn't have been.                        So that was my

 14      encouragement to keep going.

 15                Q.         "We are going to topple this

 16      mountain."

 17                           Can you tell me what "this mountain"

 18      is that you're referring to.

 19                A.         My thought there would have been that

 20      this has been -- there's problems with this election

 21      and we're going to expose it.

 22                Q.         Can you expand on that a little?                   What



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                                                                           Page 112
   1     did you believe were the problems with this

   2     election?

   3               A.         Well, I do believe that there was a

   4     lot of votes that were placed that were not -- that

   5     shouldn't have been placed.                    And the NCOA is the

   6     place that it was showing up and exposing that.                        And

   7     I felt like we were the -- and that's why I agreed

   8     to do the Gwinnett County challenge or I chose to do

   9     the Gwinnett County challenge, because I felt like

 10      it was -- there was some things going on and I

 11      wanted it exposed.

 12                Q.         Just so that we're clear, are you

 13      referring to this happening with the general

 14      election in November or with the runoff election in

 15      January or both?

 16                A.         I would say both.

 17                Q.         And did this -- did this feeling you

 18      have inform your decision to work with True the Vote

 19      for this challenge project?

 20                A.         Yes -- well, not for the printing

 21      project.       It gave me the -- the want to be the

 22      challenger in my county, but as far as working with



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                                                                                 Page 113
   1     the project, the project itself here was just a

   2     printing project.             So that was -- it's almost like

   3     two different issues.

   4                          MS. TAYLOR:            Can we pull up

   5               Document 0855 and mark it as the next

   6               exhibit.

   7                          (Exhibit 19, Bates Nos. Def Williams

   8               0855, 12/17/20 Letter, received and marked.)

   9     BY MS. TAYLOR:

 10                Q.         Do you recognize this, Mr. Williams?

 11                A.         Hold on just a second.                       Let me see.

 12                           (Document review.)

 13                           THE WITNESS:             Yes.

 14      BY MS. TAYLOR:

 15                Q.         Is this your challenge letter or one

 16      of them?

 17                A.         Yes.

 18                Q.         And is this what all of the challenge

 19      letters you would have helped print for True the

 20      Vote looked like?

 21                A.         Mostly so, yes.

 22                Q.         When you say "mostly so," what were



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                                                                           Page 114
   1     the variations?

   2               A.         I don't know that there was any

   3     variations.         I'm just leaving that out there.                But,

   4     yes, this should have been what the letters looked

   5     like.

   6               Q.         Okay.       Save for the name and -- the

   7     names of who's being challenged and who's issuing

   8     it; correct?

   9               A.         Correct.

 10                Q.         In this letter, you write, "Based on

 11      available data from the United States Postal Service

 12      and other commercially available sources."

 13                           The "data from the US Postal Service,"

 14      is that referring to the NCOA registry?

 15                A.         Yes.

 16                Q.         And what are the other commercially

 17      available sources?

 18                A.         I believe that's just encompassing.                  I

 19      don't believe that there was -- and I say this -- I

 20      don't know because I didn't actually compile the

 21      data myself, but I believe that was just

 22      encompassing.



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                                                                           Page 115
   1               Q.         So your understanding was the

   2     challenges were based solely on the NCOA registry;

   3     is that right?

   4               A.         I was comfortable with that being the

   5     source of the information.

   6               Q.         Okay.       What did you hope the effect of

   7     these challenges would be, the ones that you issued?

   8               A.         Well, I wanted to -- and my personal

   9     view was to expose this.                  If there was wrongdoing, I

 10      wanted to expose it and take it from there.

 11                Q.         Can you elaborate on what you mean by

 12      "wrongdoing."

 13                A.         I believe that a lot of votes were

 14      voted in a place where -- in a district where people

 15      didn't actually live and weren't allowed to vote.

 16                Q.         And you said you challenged roughly

 17      32,000 voters; is that right?

 18                A.         I believe that's correct.

 19                Q.         How do you think your challenges to

 20      those voters would have affected those voters?

 21                A.         I have no idea how it would have

 22      affected them.



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                                                                           Page 116
   1               Q.         Well, if your challenges had been

   2     accepted, they wouldn't have been eligible to vote;

   3     is that right?

   4               A.         Yes.      And that was the -- that was the

   5     thought there, was that these people voted in an

   6     election they're not supposed to be voting in.                        Did

   7     they vote twice?            Did they vote illegally?              What was

   8     the story here?           That was the thought process there.

   9               Q.         And do you know what would have

 10      happened had the Board of Elections in Gwinnett

 11      County at that hearing voted to actually consider

 12      your challenges?            Do you know what would have

 13      happened to the voters who had been challenged?

 14                A.         Well, it would have been vetted.                 By

 15      the laws set up, it would have been vetted out the

 16      way it should have been and it would have been found

 17      out if each one had been eligible to vote or not.

 18      And if they weren't, their vote would have been

 19      pulled out.

 20                Q.         What's your understanding of that

 21      vetting process?

 22                A.         To verify where they lived and where



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                                                                             Page 117
   1     they -- and where they were eligible to vote at the

   2     time, to verify that and if they did actually vote

   3     in an improper place.

   4               Q.         Do you know how that would have been

   5     verified?

   6               A.         I don't know.

   7               Q.         Given the chance, would you issue

   8     these challenges again?

   9               A.         Absolutely.

 10                Q.         Is there anything that you would have

 11      done differently?

 12                A.         As far as the challenges, no.

 13                Q.         What's the qualification as far as the

 14      challenges?

 15                A.         What are you asking there?                   What do

 16      you mean?

 17                Q.         You qualified your answer that you

 18      wouldn't have done anything differently as far as

 19      the challenges.

 20                           Are you implying that you would have

 21      done something differently as far as something else

 22      related to this?



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                                                                             Page 118
   1               A.         Oh, as far as the hearing and getting

   2     light shed on the hearing, probably would have done

   3     something a little bit different there.

   4               Q.         What would you have done differently?

   5               A.         Shed light on it, made sure that it

   6     was exposed -- the hearing itself was exposed and in

   7     public view.         Because it was pretty horrendous.

   8               Q.         Would you have engaged with True the

   9     Vote for the printing project given another chance?

 10                A.         Yeah.

 11                Q.         Is there anything you would have done

 12      differently in that regard?

 13                A.         I don't think so.                I think as far as a

 14      project and everything, I think it went pretty

 15      smooth.

 16                           MS. TAYLOR:            Okay.       Ms. Kramer, can we

 17                go off the record for five minutes?                     I

 18                probably just have a couple more questions to

 19                tie up anything and then we can get out of

 20                here.

 21                           MS. KRAMER:            That works.

 22                           THE VIDEOGRAPHER:                The time is



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                                                                                Page 119
   1               11:42 a.m.          Off the record.

   2                          (Recess from the record.)

   3                          THE VIDEOGRAPHER:                The time is

   4               11:46 a.m.          Back on the record.

   5     BY MS. TAYLOR:

   6               Q.         Mr. Williams, I just have a couple

   7     more questions to follow up with.

   8                          I want to return to -- we don't have

   9     to pull it up, but I want to return to the invoice

 10      that we looked at earlier.

 11                           Do you have any documentation other

 12      than that invoice showing how that $40,000 retainer

 13      was charged?

 14                A.         I believe that's all that we had.                       And

 15      to be honest with you, it's an open document at this

 16      point.      In fact, you kind of brought my attention to

 17      that, that we never kind of closed that out.                             So we

 18      need to do that.            So thanks for that.                   No, I don't

 19      believe there's anything else.

 20                Q.         All right.           We're happy to have

 21      brought that to your attention.

 22                A.         I might have to pay some money back, I



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                                                                             Page 120
   1     don't know.

   2               Q.         So you're not sure if the 40,000 was

   3     fully used or even if maybe you went over that?

   4               A.         I'm not sure.             That's what we're

   5     referring to there.              I need to go back into that and

   6     close that out and figure out where we're at and

   7     adjust it accordingly.

   8               Q.         Did you charge True the Vote the

   9     standard rate you would have charged for such a job?

 10                A.         Yes.

 11                Q.         Okay.       And what is that standard rate?

 12                A.         It's -- it's per job.                   It just depends

 13      on what it is.          And there's a lot of variables in

 14      that such as that right there, the amount of work

 15      that it was, the speed that it needed to be done in.

 16      All that kind of stuff are just variables.

 17                           So I could price that job three

 18      different -- the exact same job in three different

 19      scenarios and get you three different prices.                          So

 20      it's not set.

 21                Q.         Okay.       When was the last time you

 22      spoke to anyone at True the Vote?



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                                                                                 Page 121
   1               A.          I don't recall.               It's been a while,

   2     though.        It's been a while.

   3               Q.          Would you say it was, you know, within

   4     the last three months, earlier this year, last year?

   5               A.          Actually spoken to anybody, no.                      I've

   6     got e-mails on what was going on with the lawsuits

   7     and things, that's about it.                      But it's been a little

   8     bit too, so that's about it.

   9               Q.          Is the same true for your last

 10      communications with anyone at OPSEC?

 11                A.          Yes.      I don't even know who OPSEC is,

 12      except you told me Gregg works there.                              So that's

 13      about it.        I would say so.

 14                Q.          So it remains true for any

 15      communications with Gregg Phillips?

 16                A.          Correct.

 17                Q.          Okay.       And when was the last time you

 18      talked to Ron Johnson?

 19                A.          Probably about two weeks ago.                     He's a

 20      friend, so we talk all the time, so -- but it's been

 21      a couple of weeks still.

 22                Q.          Have you talked to him recently about



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                                                                           Page 122
   1     anything surrounding the work you guys did with True

   2     the Vote?

   3               A.         No, not at all.               He told me that he

   4     had gotten notified of a deposition, said he had to

   5     respond to that.            And that's -- that is about all we

   6     talked about it.

   7               Q.         What about with James Cooper; when was

   8     the last time you spoke with him?

   9               A.         It's been a couple of months.                 And he

 10      was doing some other work for me, and that was what

 11      that was about, but not in this capacity at all.

 12                Q.         Okay.       Mentioned talking to Ron

 13      Johnson about the deposition.

 14                           Did you talk to anybody else about the

 15      deposition -- your deposition or theirs?

 16                A.         Not that I recall.                 Counsel, that's

 17      it.

 18                Q.         You said you didn't do -- earlier, way

 19      at the beginning of this, you said you hadn't done

 20      any deposition preparation, but I just want to

 21      return to that real quick.

 22                           You did meet with counsel?



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   1               A.         I spoke with counsel.

   2               Q.         When was that?

   3               A.         A couple of times just to -- making

   4     sure that I was aware of the deposition and things

   5     along those lines and just going over a couple of

   6     things as far as that goes, but no content.

   7               Q.         And you don't have to tell me the

   8     specifics of those communications, but did you guys

   9     review any documents together during those meetings?

 10                A.         No.

 11                           THE WITNESS:             I would object to that,

 12                Courtney, but it's okay.

 13                           No.

 14      BY MS. TAYLOR:

 15                Q.         And then last thing is, you had

 16      mentioned you had been -- previously been deposed.

 17                           That's correct?

 18                A.         Correct.

 19                Q.         Just can you clarify in what capacity

 20      you had been deposed?                Was it a personal matter,

 21      something to do with your business?

 22                A.         Personal matters and divorce cases,



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                                                                             Page 124
   1     things like that.

   2               Q.         Okay.       And was it just the one time or

   3     had you been deposed previously multiple times?

   4               A.         A couple of times.                 I don't recall.

   5     It's been several years.

   6               Q.         Okay.       Have you ever testified in

   7     court?

   8               A.         Not that I recall.

   9               Q.         Not in connection with any of those

 10      previous proceedings relating to divorces or what

 11      have you?

 12                A.         Yeah, I probably did in divorce or

 13      something, but it's typical divorce kind of stuff, I

 14      think.      Yeah, probably so.

 15                Q.         I think you had mentioned that that

 16      was likely in the '90s; is that right?

 17                A.         Correct, yeah.

 18                           MS. TAYLOR:            Okay.       I have no further

 19                questions.

 20                           THE WITNESS:             Thank you very much.

 21                           THE VIDEOGRAPHER:                One moment.    If

 22                there's nothing further, the time is



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                                                                           Page 125
   1               11:52 a.m.          This concludes today's deposition

   2               and we are off the record.

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                                                                           Page 126
   1     STATE OF NEW YORK             )
   2                                   ss:
   3     COUNTY OF WESTCHESTER         )
   4               I, EILEEN MULVENNA, CSR/RMR/CRR, a
         Certified Court Reporter, Registered Merit Reporter,
   5     Certified Realtime Reporter, and Notary Public in
         and for the State of New York, do hereby certify:
   6               That I reported the taking of the
         deposition of the witness, MARK WILLIAMS,
   7     commencing on the 23rd day of September, 2021, at
         the hour of 9:00 a.m.
   8               That prior to being examined, the witness
         was duly sworn by me to testify to the truth, the
  9      whole truth, and nothing but the truth.
 10                That I thereafter transcribed my said
         shorthand notes into typewriting and that the
 11      typewritten transcript of said deposition is a
         complete, true and accurate transcription of my
 12      said shorthand notes taken down at said time, and
         that a request has been made to review the
 13      transcript.
 14                I further certify that I am not a relative
         or employee of an attorney or counsel of any of the
 15      parties, nor a relative or employee of any attorney
         or counsel involved in said action, nor a person
 16      financially interested in the action.
 17                IN WITNESS WHEREOF, I have hereunto
         set my signature this 6th day of October, 2021.
 18
 19
 20                _____________________________________
 21                     EILEEN MULVENNA, CSR/RMR/CRR
 22


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                                                                           Page 127
  1           Mark Williams, c/o

              The Bopp Law Firm

  2           1 South Sixth Street

              Terre Haute, Indiana         47807-3510

  3

  4           Case: Fair Fight, Inc. et al. v. True the Vote, et al.

              Date of deposition: September 23, 2021

  5           Deponent: Mark Williams

  6

  7           Please be advised that the transcript in the above

  8           referenced matter is now complete and ready for signature.

  9           The deponent may come to this office to sign the transcript,

 10           a copy may be purchased for the witness to review and sign,

 11           or the deponent and/or counsel may waive the option of

 12           signing. Please advise us of the option selected.

 13           Please forward the errata sheet and the original signed

 14           signature page to counsel noticing the deposition, noting the

 15           applicable time period allowed for such by the governing

              Rules of Procedure. If you have any questions, please do

 16           not hesitate to call our office at (202)-232-0646.

 17

 18

 19           Sincerely,

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 21           Copying is forbidden, including electronically, absent

 22           express written consent.



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  2             Washington, D.C. 20036
                (202) 232-0646
  3
  4             SIGNATURE PAGE
                Case: Fair Fight, Inc. et al. v. True the Vote, et al.
  5             Witness Name: Mark Williams
                Deposition Date: September 23, 2021
  6
  7             I do hereby acknowledge that I have read
                and examined the foregoing pages
  8             of the transcript of my deposition and that:
  9
 10             (Check appropriate box):
                (    ) The same is a true, correct and
 11             complete transcription of the answers given by
                me to the questions therein recorded.
 12             (   ) Except for the changes noted in the
                attached Errata Sheet, the same is a true,
 13             correct and complete transcription of the
                answers given by me to the questions therein
 14             recorded.
 15
 16
 17
 18             _____________                        _________________________
 19                 DATE                                WITNESS SIGNATURE
 20
 21             _____________                        __________________________
 22                 DATE                                      NOTARY



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  6                                          ERRATA SHEET

  7

  8             Case: Fair Fight, Inc. et al. v. True the Vote, et al.

  9             Witness Name: Mark Williams

 10             Deposition Date: September 23, 2021

 11             Page No.        Line No.              Change

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 21            ___________________________                         _____________

 22            Signature                                              Date



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